Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 1 of 100

Interview #45
A total of 367 patients are registered with this center, but only half zctually require regular treatment

The others either do not treat except m emergency The age distribi ton of the patients 1s as follows

Less than 13 years

13 to 19 years 53

Over 20 249

Total 361

Ther distribution by coagulation disorder is as follows

Hemophilia A 201
Hemophiha B 72
von Willebrand & Other blood disorders 73
Acquired hemophiha with inhibitors _15
Total 361

The product/patients mux among the active patients 1s as follows

DDAVP only 21 BereFIX 40
Kogenate 26 Moncuine 2
Recombmate 26 Total 42
Monarc-M 50
Koate HP _10
Total 133

The PUPs are systematically prescribed a recombmant Factor VII or Factor IX concentrate 36
patients have developed mhibitors Due to 1ts unavailability m 1996, Konyne 80 1s no longer used to
treat patients with mhibitors Autoplex T, Fetba VH and NovoSever are prescribed to them

No patients 1s on smmune tolerance Seven mbubitor patients who were on IT lost their mhibitor
(they were “tolerzed”) Approxmmately twenty patients are current y on secondary prophylaxis and
four are on primary prophylaxis The prices charged to the patients by the treatment center are as

follows
Price to the price to the
Product Patient (per TU) Product atient (per
Broclate $092 BeneFIX $092
Helixate $092 Mononine $100
Monarc-M $049 Proplex T $060
Monoclate P 5100
Hemofil M $084 Autoplex T $109
Koate HP $ 0.26 Feiba VH $105
NovoSeven * $ 0.97
* Per mcg Hyate C $181

DDAVP (4mcg/ml, 40ml vial) 1s charged $222 to the patient (intravenous formulation) The spray
costs $418 (1 Smg/ml)

terview #46
‘This center treats 90 (+15 new patients) hemophrha A, 14 (+1) hen ophiha B, and 10 von
Willebrand’s disease patients (+4) 60% of the patients are adult, aad 40% pediatric The
breakdown by severity follows

severe _ moderate muld . total

Hemophiha A 43 15 32 ~ 90

Hemophilia B 6 6 2 14
78

GH000546

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 2 of 100

Among the von Willebrand’s disease patients, seven are type I, one type Ia, one type Ub ena crs
type II The mild vWD patients use DDAVP, and the three severe use Humate P

All hemophilia A and B patients use recombinant product (none on plasma derived) The certez @
wiites a prescniption for recombmant without brand name unless the patient asks specifical., fo:
one The home care companies fill the prescription based on product availability, assay cos: arc
patient choice 1f requested Accordingly, the patient/product mzx 1s currently estimated as fotoy s

Recombinate 72 BeneFIX 14
Kogenate 9 Total 14
Buoclate 5
Helrxate 4
Total 90

Product shortage has not been a major concern for this center mn 1999, except for gettmg parce
vial sizes The acceptance of the second generation albummm-free rF VII concentrates b: ne panes
as unclear because they are not discussmg it. As regards gene therapy, patients know a fair amcun
as it 1s discussed at the NHF chapter meetings Two guest speakers made presentations cr <1
Subject recently Patients, however, are “not jumping for it yet”

Exght patients have developed mhibitors All are high responders using Feiba VH or NevcSe" 22°:
control bleeds Six patients have tned smmune tolerance - three successfully one parna.jy
successful, and two failed Ten patients are on primary prophylaxis, and ten on secondary
prophylaxis

All patients use a home care company Most use Gentiva (Olsien), followed by Caremazx. Are% =-
Bio Care, and New Factor

According to this respondent, the mam issues facing patients today are ©

1) Contmued access to a specialized center;
2) HIV, hepatitis C, and disease progression,
3) Drug resistance (mbhibators (7), and

4) Mautaming joint health

This respondent feels that all the manufacturers contribute equally to the community

Jnterview #47 _ .
This hemophilia treatment center serves 182 patients with Hemophuha A, 90 with Hemephua B £2

with von Willebrand’s Disease, and 8 with other blood disorders -

155 patients, or about 45%, are pediatric patients (under 19 years) mcluding 12 who are less tmex =
years old. This center has a higher than usual proportion of hemophilia B patients because 2 large
family with Factor [X-deficient mdrviduals lives m the area. Two patients with von Wrieozanc §
disease control their bleeds with Alphanate, one of them had a reaction to Humate P Ame=g co
patients with “other bleeding disorders”, two have Factor VII deficiency, and two have Fastcr X-
deficiency Among the “active” hemophilia patients, the product mix 1s estimated as fo.lo%5

Kogenate 40 BeneFIX 50

Recombmate 40 AlphaNine SD =7

Helixate 1 Mononme =

Buoclate , 1 Total :

Hemofil-M 55

Monarc-M _20

Total 37 ©
79

GHO000547

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 3 of 100

17 patients (13 pediatric, 4 adults) have developed mlubitors 12 pat nts, all pediatrics, are on
immune tolerance Among the four adults, two use Feiba VH when tiey bleed, and two use
NovoSeven Hyate C1s mamly used for mnhibitor patients undergomz surgery Three patients are
on primary prophylaxis, and some 15 on secondary prophylaxis The latter number vanes
according to the needs

Close to 100 patrents use Olsten (now “Gentiva”), almost 50 use HIS, some 20 use Caremark.
Other home care compamies serve another ten to fifteen patients

The treatment center buys factor concentrates from Gentiva under a « onsignment arrangement at the
prices shown below

Produc’: wusihion
Kogenate ; 0 69

Recombinate $ 073
Helixate $ 070
Broclate $ 074
Monarc-M $ 036
Hemofil-M $ 048
Monoclate P $ 053
Alphanate $ 042
Koate DVI $ 033
Profilate OSD * $ 020
BeneFLX $ 079
AiphaNime SD $ 062
Vononme $ 077
Bebulin VH $ 027
Konyne 80 $ 026
Proplex T $ 019
Piofilnine SD $ 026
Feiba VH $ 089
Autoplex T $ 077
Hyate C $ 136
NovoSeven $ 091

The clottmg factors are purchased through a close bid tender, with a one year renewable contract.

* No longer manufactured
Interview
The hemophiha patient population of this center 1s as shown below

Severe oderate Mild Total
Hemophilia A 11 5 25 41
Hemophila B 5 3 10 18
Total 39

All the patients are adults or teenagers, the youngest one 1s 16 years old In addition to the
hemophilia patients, 39 von Willebrand’s disease patients are registered at this center, all type I
except two type lb These severe vWD patients all use Humate P

33 hemophiha patients do not need any regular treatment, and one Factor VIll-deficient carner uses
Recombmate There 1s no patient with inhibitors to Factor VII or EX The product/patients mux
among those on nome treatment is as follows

80
GH000548

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 4 of 100

|
Hemofil M 3 BeneFIX 3
Monoclate P 1 Mononine a
Kogenate 1 Sub-total 6
Helixate 2 ©
Recombinate 7
Total 14

The shortage of Alpha’s and Centeon’s products has compelled the patents to switch te Hemc=.
M and BeneFIX . A small number of them has remamed on the Centeon’s products v h.ch were
sporadically available

Two patients are currently on secondary prophylaxis, none 1s on primary prophylax:s

20 patients are on home infusion 2 are affiliated with Caremark, 6 with Olsten (“Geniva™) cre
with HHS, 10 with the university home care program which has increased 1ts membership
impressively, from one patient last year to ten Finally, one patient 1s sill affiated with NIC won
is Jess focused on hemophiha than the others although its services are reported to be adequate anc
one patient gets 1ts clotting factors from Chronmed.

The treatment center staff has attended a traummg session about gene therapy, anc convey eS some 25
the information to the patients Five of them asked about this new treatment modalin, anc the ace
believed to consider 1t uf it 1s safe and effective

Interview #49
The followmg acquisition pnces apply to this hospstal m January 2000 It 1s affiliated *o the
Novation GPO

Acquisition Price Acquisio” Puce

Product per IU Product perce

Bioclate $073 ‘ BeneFIX $C7S ®@
- Helrxate $068 AlphaNine SD $C 6c

Kogenate $078 Profilmmne SD $ O40

Recombinate $077 Proplex T $Q22

Alphanate $ 040 Bebulin VH $O78

Koate HP $039

Hyate C $183 Autoplex T $252

Humate P $096 Feiba VH $285

Interview #50
During the 1999 fiscal year, this State Pharmacy dispensed approximately

572,000 units of recombinant Factor VI,

3.1 mullion units of monoclonal anhbodies-punfied Factor VIL,
57,000 units of intermediate punty Factor VII,

629,600 units of recombmant Factor IX,

One million units of “pure” Factor IX,

495,000 units of PCC, and

315,000 units of Activated Factor [x Complex

The followimg prices (per international unit) applied

Product. Acquisition Price per
Jntermational Unit

its i e

Bioclate $060

81
GHO000549

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 5 of 100

Product Acquisition Price per

International Uni
Monarc-M $032
Monoclate P $045
Hemofil M $ 036
Alphanate $034
BeneFIX. $066
AlphaNine SD $054
Mononme $063
Profilnine $018
Proplex T $015
Bebulin VH $022
Feiba VH $070
Autoplex T $0 63

Interview #51

49 hemophilia A patients are treated at this center, 13 hemophila B 43 with von Willebrand’s
disease and 8 persons with other blood disorders (platelet dysfuncti32, etc) 77 patients are less
than 19 years old, 20 over 19

All the hemophiha patients (A or B) use a recombmant concentrate However, one hemophiha A
patient with an inhibitor uses Feiba VH The patient/product mix 1s zstumated as follows

ogenate/Helixate 32 BeneFIX 13
Recombinate/Bioclate 17 ‘Total 13
Total 49

The reason Kogenate/Helrxate 1s primarily used at this center 1s bist orical, as 1t was mvolved m the
Kogenate pre-licensure clinical trial, and the patients had no reason to change product once 1t was
approved by the FDA

Two patients with mhibitors are on imamune tolerance, one of them occasionally needs NovoSeven
Another inhibitor patient uses Felba VH Two patients who had an nhubitor have lost it One 1s on
maimtenance, the other one, on demand

ReFacto will nct bring any significant safety enhancement, as the p esence of albumin in
recombinant Factor VIII has not been an 1ssue at this center The choice will be offered to the
patients, but no one bas indicated that he would switch when the prc duct becomes available The
question of the chromogenic assay to measure the Factor VIII level may be a shght problem umtally
but with practice, the treating staff will soon be able to use it as easily as the current Factor VI
level testing It 1s beleved that accuracy of the test will not be a protlem

Almost every one of the hemophtha B patients get a higher dosage >f BeneFIX than 1s indicated on
the package msert, +50% instead of +20%

Some 6 vWD patients need Factor replacement on a regular bass, .. i Type Ib or HI, and one
pecuhar Type I who bleeds frequently

Some two or three patients are on primary prophylamis, defined at tus center as the appearance of a
frequent bleeding pattern The regimen 1s an infusion every other day to maintain the Factor VIII at
2% of the normal level For hemophilia B, the frequency 1s three mes a week, to mamtain the
patient at 1% of the normal Factor VII In a prophylaxis regimen, he frequency of the mfusion of
Factor VII 1s higher than the frequency of Factor LX mfusions because Factor VIII has a 8 to 12
hours half life whereas the half life of Factor IX, cluding BeneFT, 1s 18 to 24 hours This is

82 GH000550

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 6 of 100

different from the recovery which gives a 2% increase im the Factor VII level for each rctez=: mere
unit infused while the mcrease for Factor IX 1s 1% per IU infused, and 0 8% for BeneFIX. nence

the need to infuse more of it

Gene therapy 1s considered promising a patients are generally keen to know more abou: .t. Taes
. fealize that 1t 1s still at least five years away

terview #52
On average, Dr D cares for five hemophilia patients with inhibitors, three hemoph.ha A and >
hemophtha B :

1) When a “significant” bleed occurs in a hemophilia patient with an mubitor Dr D -vp:23_-
follows the treatment algonthm designed by an organization to which he belongs The azo.
starts with the infusion of a PCC If the bleeds does not stop, an aPCC (Feiba VH ov A-*cr.2x
T)1s used In case of ife-threatenmg bleed, porcine Factor VII or rF VI a 1s preserizec.
[provided the conditions for the compassionate use are met] “No aPCC 1s usec in .:fe-
threatenmg situations”

2) The mhibttor level determines the dosage It vanes according to the product as weil The range
1s quite wide, from 50 to 200 TUs per Kg bodyweight, typically 100 TUs per Kg for an aPCC A
number of tests (BU level, etc ) are performed before deciding on a dosage [provided tneve .s ==
Infe-threatening urgency]

Note according to a different source, the dosage used with Autoplex T ranges from 23 to icl
TUs per Kg bodyweight On average, 75 Us are usually prescribed for a joint bieed Two
infusions are generally enough to control the bleed The dosage used with Feiba VH 1s a20—
the same (65 corrections units per Ke bodyweight) With NovoSeven as many as eles ez

‘ infusions are reportedly needed to accomplish the same result ‘The typical dosage 1'n
NovoSeven 1s 80mcg/Kg bodyweight

Massrve infusions of factor VIII or [X can accomphsh a good result when the prec.ct is
infused m continuous infusion because the timing factor plays an umportant role in tne Teamme=

Dr D does not know the price of each product but realizes that the cost of treating an innib.-cz
can run to $2,000 per day (ancluding ummune tolerance), and that xt 1s much cheapez vw her @
PCC 1s used .

3) Incase of hemarthrosis, PCC and aPCC are successful mm 50% of the cases, and hams=
albummin 25% of the cases (control group) A paper published in the 1989 s compares
PCC and Feiba, and concluded that there was no major difference m treatmen: outcome

to Dr D , NovoSeven 1s efficacious in 90% of the cases, and it could eas: Cecome
the product of chorce m the treatment of wnhibitors

4) From the cost viewpomt, as mentioned earlier, the basic distinction 1s between PCC™ arc
“aPCC” Once the option “PCC” has been exhausted, the treating physician knows 2a"
he/she enters the land of the expensive products In case of life threatening bleed, the cos" c-
product does not play any role

5) To the extent possible, elective surgery 1s avoided 1n hemophilia patients with an mz.b."oz i=
surgery must be performed - usually m some lund of emergency - all precautions are taxex we
avoid a bleeding accident Furst a massive dose of Factor VII or IX 1s wefused wn the pouen” s
system, then all the tests are made (recovery and half-Ife, etc), and appropriate safeguarcs az2
established, such the mmmedhate availability of Autoplex T, Feiba VH or NovoSeven (c- porcine

Factor VHD)
6) Insurance companies do not have the faintest idea about hemophilia care [Since man" coc"="s
includmg many hematologysts (said Dr D) are often uncompetent when faced witr a serics
83

GH000551

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 7 of 100

hemophilia case, it 1s not surprismg - and quite understandable that znsurers are ignorant about
it, too] The attitude of msurance companies 1s clear either they pay or they don’t Fortunately,

Dr D and his patents have never been dened payment for mhi>itor treatment in hemophilia
No question has ever been asked by the msurance companies until now Dr D pomts out
that the msurance companies would only cover (or strongly recc mmend) the exclusive use of
PCC if they knew that 1t cost so much less than all the other pred.cts!

7) The rationale for the plasmapheresis/Protem A column approact 1s that a lowered IGG level
(obtamed through plasmapheresis) would increase the chances of a successful tolenzation
through mmune tolerance Dr D does not believe that “one follows the other”, or that the
mmmune tolerance will necessarily be successful because the IGG levelis low The fact that this
procedure has apparently been used with success mm Scandinavi: for many years 1s not
convincing, as “there may be other factors”

84
GH000552

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 8 of 100

ANNEXES

Medical and Scientific Advisory Council (MASAC) cf the National Hemophiha
Foundation (NHF) Recommendation #95, November 1999

NHF, Community Alert’99. Vol. 6, November 1999 (extract) “Frequently
asked questions about Gene Therapy”, page 1-3

Centers of Disease Control (CDC) Report on the Universal Data Collection
System (UDC), Janaury 2000, Vol 2, No 1 |

85
GH000993

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 9 of 100

NATIONAL HEMOPHILIA FOUNDATIO‘
e for all bleeding disorders

TAASAC Recommendation #95

MEDICAL AND SCIENTIFIC ADVISORY COUNCIL
RECOMMENDATIONS CONCERNING THE
wake | TREATMENT OF HEMOPHILIA AND RELATED

sa Fulam Seciry
“ease are BLEEDING DISORDERS
cnet aaes , (Revised November 1999)
FOK News
New York, New York
ratyne Aenak Se
2 dine The following recommendatons were approved }y the Medical and
SalAene Scienhfic Advisory Council (MASAC) on Novem er 6, 1999, and
ee adopted by the NHF Board of Directors on December 21, 1999
isten Health Seraces.
Palm Harbor Ronda
Micheel Coyne MD
extshre Medica! Center
msfield Massachusers
= task Deneen
$70 Conununicatons
San Feenesen Caifomes
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(800) 42-HANDI (212) 328-3700 fax (212) 328 3,77 GH000554
~ Founded 1948 www hemophilia org info@hemophila org

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 10 of 100

I. Recommendations for Physicians Treating Patients with Hemophiha A and B yon Willebrand
Disease, and other Congenital Bleeding Disorders

A. Treatment of Hemophiha A
1 Patients Who Are HIV Seronegative - Factor VII Products

a. Recombmant Factor VIII .

Recombmant (1) FVII, produced by well-established hamster cell nes tna: :a\ 2 beex
transfected with a gene for human FVII, 1s stabilized in human albumur. The ms. cf
human viral contammation 1s definitely much lower than for plasma-de-.ed FV
products No seroconversions have been reported with any of the curre~ty av 2_az 2
products, thus recombinant factor VIII products are the recommerded treammen: sf ont te
especially for young and newly diagnosed patients who have net previews » rece..2c 22,
blood or plasma-derived products (Table 1A)

b Viral Safety and Plasma-Denved Factor VII Products

— eee

Improved viral-depleting processes and donor screening practices have res. tec > FT
products with greatly reduced nsk for transmussion of human woemureceSc.ers Us anc
hepatitis B and C No seroconversions to HIV, HBV, or HCV have bees -ero-22 wom er,
of the FVII products currently marketed im the United States, mci.d.ng procuots tn are
heated in aqueous solution (pasteurized), solvent-detergent treated. and or mmasnca==-
punfied Thus, each of these methods appears to have greatly reduced the nsx c7% ra. ©
transmussion compared with older methods of viral activation (1-3) There remacs in2
possibility of HIV-1, HIV-2, or hepatitis B or C virus transmission wits che use ef core,
marketed, viral-inactivated, plasma-derived products It 1s known that tie nor-! 2 2
enveloped viruses human parvovimms B19 and hepatitis A virus can si.’ pe wansmtes

(16,18), although additional steps such as viral filtration are beng acded t2 rec.ce inese

risks as well (Table IB)

2 Patents Who Are HIV Seropositive - Cellular Immunity and Factor VITI Prod_cts

Emerging data suggest the possible superiority of mmunoaffinity punfiec FV concse-Taces
over products of mntermediate punty for the mamtenance of cellular mun.) .r HOY -ccectec
persons (19). Therefore, 1t 1s recommended that physicians should carefi.Ly coms.cer suo
information when selecting products for use in HIV-infected persons with hemops: .2.

Recombmant FVIII products and products of high purity produced by methcas otner nen
immunoaffinity have yet to be directly compared with intermediate puniy products >
determme if they are sumularly beneficial

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 11 of 100

3 Cryoprecipitate Not Recommended

Methods of viral mactivation (pasteurization, solvent-deterg -nt treatment, smmunoaffinity
purification) have resulted m a reduced nsk of HIV and hep: titis B and C transmussion with
plasma-derived factor VIII concentrates (2, 3, 5-7) Moreove:, FVIII products manufactured by
recombmant technology which theoretically do not transmit human viruses are now licensea

For these reasons, cryoprecipitate should not be used as a treatment alternative Despite donor
screenmng for antibody to HIV-1, HIV-2, and hepatitis C vin.s (HCV) and for hepatitis B
surface antigen (HBsAg), cryoprecipitate might still be mfectious for several reasons inchiding
the potential for several months’ delay in seroconversion after HIV or HCV infection While
the current estumate for the nsk of HIV infection from a single unt of blood 1s one mm every
450,000 to 660,000 transfusions (20), the nsk of HCV transrnission 1s somewhat higher bemg
approximately 3 m 10,000 (21)

B Treatment of Hemophilia B

Patients Who are HIV Seronegative - Human Immunodefici2ncy Virus (HIV) and Factor IX
Products

a. Recambmant Factor IX

Recombmant factor IX 1s produced in Chinese hamster cvary cells, no human plasma
products are used 1n 1ts manufactunng process Thus the nsk of human blood-borne viral
contamination is essentially zero (23) Recombinant factor IX 1s considered to be the
treatment of choice for young and newly diagnosed pati nts (Table ILA)

b Vira Safety and Plasma-Denved Factor IX Products

Improved viral depleting processes and donor screenin z practices have resulted n FIX
products with greatly reduced nsk for HIV and hepatit.s B and C transmission (4) \ ital
attenuation methods used 1n the production of licensed F IX products that appear to be
effective for reducing the nsk of hepatitis are dry heating at 80°C for 72 hours, solvent-
detergent treatment, vapor treatment, and sodium thiocy anate plus ultrafiltration
Punfication steps mvolved in the preparation of coagula 10n FIX products are associated
with loss of several additional logs of virus There rema_rs the slight possibility of viral
transmuiss.on with the currently marketed viral-mactrvated, plasma-derived products
Transmission of human parvovirus B19 and hepatitis 4. virus through the use of these
products has been documented, but the msk has been reduced with additional viral
attermation methods (Table ITB) —

Page 2

GHO000556

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 12 of 100

2 Patients Who Are HIV Seropositive - Cellular Immunity and Factor IX Products

Studies of mmune function m HIV-seropositive patients with hemophilia B s.muaz-o terse @
described for patients with hemophilia A (Section A 2 , above) have not been reporec. ‘
However, since studies have shown improved immune ‘fanetion in patients rece ing msn

punty factor VIN products, extrapolation suggests that HIV-seropositive nencpk._2 5 so: encs
should also be treated with high punty products (xmmunoaffinity panfied, recom: man:

3 Reduction of Thromboembolic Risk Dunng Surgery

The use of coagulation FIX concentrates or recombinant factor [X rather thar protorsm2=
complex concentrates 1s recommended 1n certain situations associated with amegnerms 2°
thromboembolic complications such as surgery or severe hemorrhage req.uming treasme-* .-2
times per day (see MASAC Statement Regarding the Use of Coagulation Factor X Procuscs =
Persons with Hemophilia B, May 29, 1992)

C Treatment of Mild Hemophilia A

i
a)
v
'

Desmopressm (DDAVP injection or Stmate nasal spray) should be used whenever pcs
patients with mild hemophiha A DDAVP 1s now licensed and available in bowr parese-a_ a2
highly concentrated mtranasal spray formulations (Table IV) When Resmap rossi C° ates 227
provide adequate treatment, these patients should be treated as per secuo™ 7 A 25

D Treatment of yon Willebrand Disease (WWD) @

Most persons with von Willebrand disease type 1 are most appropriately treatea wicr cesmmcr-esst
(DDAYVP injection or Strmate nasal spray), given either parenterally or by high. concentratec
nasal spray (Table IV) Some Type 2A patients may respond to DDAVP, cumuca. 2.8 s72 2 22
done to determine whether DDAVP or factor VIII concentrate should be used fez tres? pazancss 2
judged necessary (e g , Type 2B vWD, Type 3 vWD, and Type 1 or 2A vWD who ra ereccote |
transiently unresponsive to DDAVP or with surgical situations, especially ir yc.ng panenss <a
mactivated FVIII preparations nch m von Willebrand factor (e g , Alphanate, Hemate-P Ke2.2
DVI) are recommended (9-13) (Table IC) .

Cryoprecipitate should not be used except in life and lmb-threatening emergezc es v xem 2e2°=~
concentrate 1s not rmmediately available Plast+SD does not conta gocd ven Vi luecrarc Ze2°="
multimers so 1t should not be made mto cryoprecipitate

E Treatment of Patients with Inhibitors to Factors VIII and IX

1 Recombinant Factor Via

Recombinant factor Vila (NovoSeven) has recently been hcensea for use im pauenss +t

mh mow a

inhibitors to factor VIL or IX It 1s produced by baby hamster kidney ces ro numer at

or other protems are used in the production of NovoSeven It 1s not s‘ab: Lzed weir 2.0.00
Thus the nsk of transmission of human viruses 1s essentially zero (Table IC: e

GH000557

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 13 of 100

2 FPoreme Factor VII

Poreme factor VIII can be used in patients with mbybitors ‘o human factor VIII Porcme factor
‘Vili (Hyate C) 1s obtamed from a colony of carefully maz tamed pigs which are screened
frequently for any viruses There has been no documented transmission of porcine viruses
especially porcme parvovirus, to mdividuals who have 3ecn treated with this product (Table

Ib)
Activated Prothrombm Complex Concentrates

These products contain activated factors Ila, Vila, and Xa. These factors are able to bypass an
mbhubitor to factor VII or factor IX and promote hemostas s These products are denved from
human plasma but are treated with dry heat and/or vapor (team) heat to elmmate viruses
(Table ID)

F Treatment of Patients with Rare Congenital Bleeding Disorde $

1 Recombmmant Factor Vila

Recombinant factor Vila (NovoSeven) has recently been | censed m the Unusted States It is
produced by baby hamster kidney cells, no human albumz1 1s used m its proguction or
formulation It can be used to treat patients with congenita factor VII deficiency (Table I)

Prothrombm Complex Concentrates

Plasma-derived prothrombm complex concentrates (PCCs) can be used to treat patients with
deficiencies of factors II, VI, and X It should be noted, h »wever, that these products vary
considerably in the amounts of these factors that they conta.n. Not only 1s there a marked
difference im factor content between the different commen 1al preparations, but factor content
varies between lots produced by the same manufacturer (J able IIC)

Fresh Frozen Plasma

Fresh frozen plasma (FFP) can be used to treat patients with mild deficiencies of any of the

clotting factors for which specific clottmg factor concentr: tes are not available Two types of
FFP ars ava. lable which have been processed so as to redi ce the nsk of viral transmission

(Table V)
a. Donor retested FFP 1s produced from single units of p asma, the donor must come back

and test negative on a second donation m order for the. first donation to be released. This
product 1s available from some community blood centers but not the American Red Cross

(ARC)

Page 4

GH000558
Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 14 of 100

b  PlastSD 1s produced from single units of FFP that are pooled in lots of 2500 uzcs arc
treated with solvent detergent to kill HIV, hepatitis B, and heparis C This retnod ¢ses
not all hepatitis A or parvovirus However, nucleic acid testing has reducec tne =. 27 é
transmussion of these two viruses to essentially zero The FFP 1s collectec by ARC
processed by Vitex, and then distributed by ARC

4. Fibrogammm P 1s a plasma-denved factor XIII concentrate for treatment of Zac-c- XT
deficiency It 1s not yet licensed m the United States but 1s available under ar In. est.gaz.>-2.

New Dnug (IND) protocol

G Vaccmation for Hepatitis A and B

1. Hepatitis B vaccme 1s recommended for all children by the American Acacerz; c7 Pec a=-2s
In persons with hemophilia and other congenttal bleeding disorders, this mmmur_zat.on 3
particularly mportant and should be started at birth or at the tume of diagnosis Pome
immune response should be documented

2 Hepatstis A vaccine 1s recommended for all mdividuals 2 years of age anc older w-t=
hemophiha and other congenital bleeding disorders who are HAV seronegative '.4 .5

H Other Issues of Importance
1. Need for Contmued Collection and Reassessment of Data

When choosing the appropnate products for their patients with hemophiLe. prys c.ans wt ©
need to continue to exercise their best judgment based on their assessment of emerging <2:2.

The data concerning the effectiveness of different viral-depleting processes are based cr =

relatively small number of published studies, most mvolving small numbers cf pve “aus -

untreated subjects (8) Additional data are essentual to provide for a better understana.ns aro

the safety of blood products If a previously seronegative patient seroconverts t¢ g > 22<-

bore virus, this should be rmmediately reported to the FDA, to the manu‘acturer of tre

product received, and to the CDC

2 MASAC recommends contmued viral safety studies of all licensed proaucts arc ria.n-erscce
of a serum bank to enable quick evaluation of possible transmussion of viral infect.cn br susz

products

3 Decisions about the selection of products for treatment of hemophilia are com:p_catea =~
patients, families, and treatmg physicians Thus, patient education, psychosoc.2. Scppo7 amc
financial counseling are critical components of comprehensive care regarc'ess cf a pane"
HIV status

4. Patients should enroll in a voluntary notrfication system in order to be rot fea s-emptur cf ax,
recalls of factor products they may be usmg

GH000559

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 15 of 100

Tf. Recommendations to Manufacturers of Coagulation Product:

© A We recommend continued vigilance m donor screening and donor testing at blood and plasma
collection facilities

1 Plasma must not be collected from donor centers that dravy from population groups in which there
1s a relatively high mcidence of hepatitis and AIDS

2 Manufacturers should disclose the incidence of hepatit.s znd HIV infection at mdividual plasma
centers Maximum allowable viral marker rates for the do1or population for anti-HCV, anti-HIV,
and HBsAg should be established

3 Manufacturers should use only plasma that 1s collected by facilities qualified to receive the
Quality Plasma Program (QPP) certification by the Amer can Blood Resources Association m
accordance with recommendations to hemophtlia treatme 1t centers (see “MASAC Resolution on
the Quality Plasma Program,” December 3, 1992, Medical Bulletin #168, Chapter Advisory #170)

4 Plasma shoud not be accepted for further processmg unt: the donor has successfully passed at
least two health history mnterviews and screening tests within a specified tme period

5 Ali donations should be held for at least 60 days If during this period the donor seroconverts and
tests positive for a virus, or 1s otherwise disqualified, the 1eld donation should be destroyed

6 Donors diagnosed with CJD or at msk for CID should cor tinue to be deferred from donating blood
and plasma. [f such mdrviduals are 1dentified after donation, all products contaming their plasma,
includmg albumin used as an excrpient (stabilizer) m plasma-derived and recombinant products,
should continue to be quarantmed, and 1f marketed, withcrawn

B Increased efforts should be made to exclude from further prot essing the plasma from donors who are
©} infected with HIV, HBV, HAV, HCV, human parvovirus, an 1 CJD

1 Tests to identify viral nucleic acids (¢ g , polymerase cha.n reaction [PCR] and other genome
amplification tests) should be implemented expediently for all plasma that will be further
processed

2 Pnontty of test implementation should focus on viral ager ts that are not mactivated by current
viral el mumation techniques, namely, parvovirus B19 anti HAV

3 To furtner identify donors who are infected and donate dur:ng the window period, viral nucleic
acid testing should be mnplemented for HCV, HIV, and FBV

4 These tests, once smplemented, should offer significant u:cremental sensitivity over the HIV
antigen test and serologic tests for HIV, HCV, and HBV. This can best be accomphshed by testing ,
mdtvidual donors or very small donor mini-pools

5 Infected donors should be notified of ther status m an appropriate manner
6 Efforts to develop a test to identify donors potentially nfzctious for CJD and related agents should

be given high pronity.

C Plasma pools should be decreased m size to Jevels approachtig 15,000 donors per lot of finished
product

1 Reduction m the number of donors m final lots of product will decrease the spread of anew
infectious threat that 1s transmitted via plasma products
@ 2 Manufacturers should disclose the number of donors m each lot of their products .

Page 6

GHO000560

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 16 of 100

3 Afbumin used as an excipient in purified coagulation products should be cb-a.nec fom wre some

plasma pool to elsmunate further exposure to donors

4 Reduction im the number of donors 1n final lots of product will decrease the arr2us* cZo-z2_2>

withdrawn or quarantined as a result of identification of a donor w-th a poten".a... Tecsmtar>
disease (e g , CJD)

D. Improved viral inactivation and elimmation are required mn coagulation procuc:s

1 All efforts should be made to remove human albumin from recombinan* Zestor VII srzcz_ecs

6

2. Increased efforts should be made to elummate human and bovine proteims for ine mane

process of recombinant factor VIII products

3 Inactivation of non-lipid enveloped viruses (e g , human parvovirus B19 HAV? .s sacecunte ~ ott
existing techniques New methods must be identtfied to mimiumize the chance c7 sansm. ng izese

and sunular agents which may emerge in the blood supply

4 Research to identify methods to eluminate the nfectivity of the CJD agent anc ssm_ar room zens

that may appear in the blood supply (e g , Mad Cow Disease) 1s urgent’; neeces.

E. Reporting of adverse events associated with coagulation products should ecsar mere exrec.icus ,
1 Manufacturers should report suspected viral transmission events to the FDA moz:n._
if their product 1s responsible for a viral infection

3 New products are often approved with small numbers of patients ev alua‘ed wn Sun.ca: T12s
Manufacturers are strongly encouraged to conduct Phase IV post-iicensure s"-c12s Zor ei= 222,

surveillance for viral infections ©

training programs, manufacturing controls, quality assurance, and quality conc ard p-cass 2

take necessary steps to bring their facilities into compliance, 1f they have no~ a.ce223 izes

F Notification to consumers and thei health care providers of safety and reguiaiory p-o>.e=s =-S

occur m a more expeditious fashion

1 Manufacturers are responsible for notifymg their customers The FDA has cecines tne sus" er 2s

the “end-user” of the product namely, the person with a coagulation disorder arc ines 222.2272

purchased a product that 1s out of compliance
2 Nottfication to customers must occur early m the investigation Whi.e we recogn.ze 22°

occasionally a product may be exonerated from disease transmiss‘on, It 1S \.ca. {2 er7 om me § =e

oc
=>

safety and remove a product under investigation from its pot of use .ncliaing pawexs =:
3 While the voluntary notification system mmplemented by some companies will go 2 org 72
toward putting a system ito place, 1t should not be considered a subst.tute for tne -estics.=
the manufacturers have to notrfy their customers directly
4 Intermedianes, mcludmg home care companies, must keep accurate reco~cs oF ine .cts Ter

customers use and have systems in place to notify patients and their nealtbcare oro ces
immediately upon learnng of a compromised product lot

f)

GH000561

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 17 of 100

G Research and development of mproved coagulation products taat would expedite the transition to
@ , total prophylaxis for all persons with coagulation disorders are strongly encouraged .

1 Licensed and rmproved products to treat patients with von Willebrand disease and patients with
inhibitors are urgently needed
2 Recomb:nant products that could be taken less frequently cr administered other than mtravenously
would be of tremendous benefit to mdividuals on prophyla cas regimens
3 Methods to manufacture coagulation products more mexpeasively, such as use of transgenic
animals, would mcrease supply and availability worldw:de
Costs of coagulation products should be reduced

4
) NHF has endorsed the development of clmucal tals m gens therapy to cure bleeding disorders
- Manufacturers should facilitate the climical development of this technology

It. Recommendations to the Food and Drug Administration

The Food and Drug Admuustration 1s responsible for regulating tte manufacturers of coagulation
products to ensure that licensed products are safe and effective Many of our recommendations for
manufacturers shoulc be regulated proactively by the FDA

A The FDA should establish stricter guidelines for the collection of plasma, to include the use of plasma
from repeat donors only, mventory hold, establishment and pu lication of viral marker rate standards
at plasma collection centers, and establishment of sensitrve geome amplification tests

© B The FDA should mmplement pool size restrictions along the limes of ther proposal m 1996 of 15,000
donors for source plasma

C Research to identify improved mactrvatton and elmmation techniques for non-lpid enveloped viruses
should be actively encouraged by the FDA A timetable for rmplementation of these techniques for all
coagulation products should be established with a goal for mp lementation by 2000

~ D Validation studies to identify the amount of removal of the CJD agent should be recommended by the
FDA to each manufacturer for each of their products

> E The FDA should work with the National Heart, Lung, and Blood Institute and mdustry to ensure that
sufficient resources are avatlable to develop mactivation techniques for all CJD-related agents

“ F The FDA should maimtam sufficient compliance checks to ensure that manufacturers are expeditiously
reporting ary and all suspected mfectious diseases associated with coagulation products

~ G The FDA should work with the CDC to mvestigate any suspet ted viral transmission via coagulation
factors Patrents and providers should be mcluded as advisors in the early stages of each mvestigation

to provide relevant perspectives

_H._ Products urder mvestigation should be assumed to be umplica ed in viral transmussion until proven
. otherwise and NOT assumed to be safe until proven to transmit a virus Accordingly, these prod.cts
©} should be removed from the distribution path, including remov.ng them from patients’ homes

~ : Page 8

GH000562

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 18 of 100

1 The FDA has the authority to regulate a mandatory notification system that foLows tne produc
through 1ts entire distribution pathway The FDA should enforce the implementet.cn ane mar-er e

of such a system

J The FDA should continue to bring the coagulatzon products mdustry mn line wita goce manuZeonsing
practices of pharmaceutical companies that marmfacture other classes of drugs

K All products offermg mcremental safety and efficacy advantages to the bleedirg c.sorzcers
community should have expedited regulatory review

GHO000563

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 19 of 100

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Page 10

GHo000564

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Page .1

GHO000565

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 21 of 100

GLOSSARY TO MASAC RECOMMENTI ATIONS

Activated Prothrombm Complex Concentrates
Two prothrombin complex concentrates are purposely "activated" so that they contain some FIX, FX, etc

"nm active form (FIXa, FXa, etc ) Autoplex T and FEIBA are to be used m whybitor patients only!

Coagulation Facto: 1X Concentrate

Factor IX products which contain very little or no coagulation factors o her than FIX melude AlphaNine
SD and Mononine —

Desmopressin (DDAVP, Stimate)

Desmopressin acetate 1s a synthetic analogue of the natural piturtary antidiuretic hormone, 8-argimine
vasopressin When given to persons who have the capability of productig some FVIII or vWF, the drug
effects a rapid, transrent mcrease in FVIII and vWF It can be given mtravenously, subcutaneously, or by
mtranasal spray The mtranasal spray form 1s called Stmate Nasal Spray

Dry Heat Treated

No currently avatlable FVII products are exclustvely dry heat-treated (Currently available FIX products
that are dry heat-treated clude Proplex T and Konyne 80 Proplex T 1s cry-heated at 60°C for 144 hours
Konyne 80 1s heated at 80°C for 72 hours ‘

Factor Vili Products Rich in von Willebrand Factor

In certam of the plasma-derived intermediate punty FVII concentrates he hemostatically important high
molecular weight mulumers of von Willebrand factor are preserved These include Alphanate, Humate-P,

and Koate DVI They have often proved effective m preventing or contro.ling bleedmg mm persons with
vWD Humate-P has been approved by the FDA for use m patients witl von Willebrand disease

There 1s also a VWF product manufactured m France that 1s currently in U S_chmucal trials sponsored by
the American Red Cross

Heated in Aqueous Solution (Pasteurized)

Factor VIII concentrates that are heated for 10 hours at 60°C im aqueous solution m the presence of
stabilizers such as sucrose or neutral amino acids Products mclude Hur1ate-P and Monoclate P

Immunoaffinity Purified

Factor VII or FIX concentrates that are purified usmg murine monoclo 1al antibodies attached to an
affinity matnx Viral attenuation 1s augmented before immunoaffinity purification by pasteurization
(Monoclate P) or by detergent-solvent treatment (Hemofil M and Mona-c-M) In the case of Mononine (a
coagulation FLX product), viral attenuation 1s augmented by sodium thiecyanate and ultrafiltration

Page 12

GHO000566

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 22 of 100

Prothrombm Complex Concentrate

Prothrombm complex concentrate (PCC) contains factors If, VI, IX, and X and protems C azc S (1s
small amounts of activated coagulation factors) Examples of these products mclude Besuuan VE Kersne
80, Profilnme SD, and Proplex T

Recombinant Factor

Recombinant (1) FVII refers to genetically engineered or cloned FVII that 1s not derived Som “umes cr
animal plasma. The gene encoding normal human FVIII 1s inserted into hamster cell nucle (ceLs csamec
from well-established baby hamster kidney cell ines or Chmese hamster ovary cells) The hamster ce.s
then produce FVII that 1s mdistinguishable from plasma-derived human FVII Currently licensec <F YT
products are Recombinate and Kogenate Recombmate ts also distributed under the trade name B o<.zce
and Kogenate 1s distributed as well under the name Helixate These products are stabilized v.rwh cuman
albumin that has been heat-treated.

A recombmant FIX (rFIX) product, BeneFIX, has also been licensed. The rFIX 1s produced 5, Cemese
hamster ovary cells It contams no albummn stabilizer

A recombmant factor VIla product (NovoSeven) has recently been licensed m the United States Tre
. IF VIla 1s produced by baby hamster kadney cells No human serum proteins are used in 1ts proscuc cz 2°
formulation

Another rF VIII product, a deletion rF VII product that lacks the B domain and contains no 2.2 in
stabilizer, has been m pre-licensure clmical trials m Europe smce March 1993 Pre-l:censure c.n.ca. as
began 1m the United States m 1995 .

. Solvent Detergent Treated

Factor VII concentrates that are manufactured using combinations of the solvent, Tri(n-Buty , Pacsprace
(INBP), with a detergent, such as cholate, Tween 80 (polysorbate), or Tnton-X-100, to macnyace Po
enveloped potential viral contammants (lipid-enveloped viruses imclude HIV HBV HCV) A.pnacste acc
Koate DVI are solvent-detergent treated using TNBP and Polysorbate 80 Hemofil Mand Nicnarc-Ni axe
solvent-detergent treated with TNBP and Tnton X-100 A coagulation FIX product (AlphaN.ne SD .s
solyent-detergent treated using TNBP and Polysorbate 80, as 1s the prothrombin complex cercenzaze

Profiinine SD

Vapor Treated

Two coagulation products currently licensed m the US use vapor (steam) teatmert for vive. aren-255= -
Bebulm, a FIX complex concentrate, and FEIBA VH, an activated prothrombin complex consexrate &=

both vapor treated for 10 hours at 60°C and 1190 mbar pressure, followed by 1 hour at 80°C uae: 1="5
mbar pressure

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 23 of 100

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 24 of 100

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 25 of 100

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 26 of 100

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 27 of 100

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 31 of 100

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® NATIONAL MJ HEMOPHILIA FOUNDATION

eLommunity Alert 99

Bio eijtydo way

VOL 6 NO 7 DECEMBER 1999

Frequently Asked
Questions About Gene

Therapy

BLikée A ZEFO

6 What fs gene therapy?

BY con therapy s ar

excinng experimental
techmque that seeks to
provide the body with the
genetic informanon (DNA)
at Jacks so that at car perform
@ normal functions Most gene ca
therapy strategies uss a vector, such
as modified virus, to attempt to deliver a good
copy of a gene to a cell that contams a defecuve
« gene Scienusts hope that the transferred gene
will then restore the normal funcnons For peo-
ple with hemophil., this means that clornng
factor genes inserted! mto the body would enable
normal clotting factor protems to be produced for
2 the first nme

See pages 2 [pes Bg
tor the Slst Annual Meeting , f d
photo spreac

Why ts hemophilia
well-suited for gene

therapy? ,

EY siemophis as thoughr to be a
model disease for treatment with
gene therapy because 1t 1s caused by 2 single
malfuncnommng gene and only a small

anenase in clotung factor m the blood-
strram could provide a great medical

©} benefit. Making’a panent with severe
Has gene therapy cured any } emophiha (less than 1% factor level)
diseases so far? Lave mulder forms (greater than 5%
~ - ” factor level) should elmmunate sponta-

» No Gene therapy as a very young reous bleeding episodes

ence that has been used in panents for only

. about ten years Thousands of patients with can-

cer and infectious diseases such as AIDS have been —, & \hal is currently being done in
weated, but no one has been cured yet While these te field of gene therapy for

are very difficult diseases to cure, scientists and physi- temophtlia?
Be cians have shown that they can transfer genes into

patients—an important first step Some non-human S There are now hree human mals underway—two

arumals have been cured of diseases using gene thera- for hemophilia A (actor VII deficency) and one for

py, including dogs wath hemophuiha
Cantinved aa Page 2 >

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299

Gene Therapy

from page 1

hemophiha B (factor [IX deficiency)
The first gene therapy mal for hemo-
phrba mvolves hemophilia A and a
therapy developed by the Chiron Cor-
poration, 2 Californsa company In this
small-scale phase 1 safety study, 20
patients will receive the gene for factor
VII through an myection into the vems
of the arm. The gene is carned in a
mouse retroviral vector, a virus that
normally infects mice It has been
modified to carry 2 short version of the
factor VHI gene (B-domaim deleted)
and for use m humans Scienusts expect
that once inude the bodv the snfissed
genenc material will be dehvered to the
. lver and spleen eventually integranng
anto the cell’s geneuc matenal on a |
permanent level It does not cause
disease in humans because 1s disease-

Lommumni

causing genes have been removed from.

the retrovirus in order to insert the
factor VIII gene
The other gene therapy tual for
hemophiha A involves a form of thera-
py that takes place outside of the body
A Massachusetts-based company,
Transkaryonc Therapies, Inc , has
developed 2 process beginnmg with
patients undergoing skin biopsies to
obrain connecuve nssue cells called
fibroblasts A shortened version of the
factor VII gene (B-dornam deleted) 1s
then introduced into the fibroblasts by
means of elecroporauon-a bnef elec-
mical pulse—and the cells are then

2 6

grown to very large numbers m the
laboratory Hundreds of nulbons of

these new genetically corrected cells are
then imyected ito the abdomen where
thev are expected to make factor VIII
protein The cells are myected into the
fac that surrounds the intestines, of
enough of the proteir gets into the
systemic circulanon, crculatng clotung
factor levels should increase

The final gene therapy trial un-
derway for hemophiha involves a prod-
uct named Coaguhn-B—a treatment
for hemophiha B Developed by Cah-~
forma~based Avigen Inc and Katherine
High, MD, from the University of
Pennsylvama, the treaument uses a virus
called an adeno-associated virus (AAV)
injected into muluple sites in the thigh
of the panent. Once taken up by mus-
cle cells, at 1s beheved they will make
clorung proteins that will enter the
bloodstream. Some dogs with factor [x
deficiency treated with this viral vector
have been cured for over two years
This varus 3s used to delrver the gene
because 1t 35 very good at infecung
human cells It wall not cause disease
however, because much of its genenc
material has been deleted to make
room for the factor [X gene

Where are these trials being
performed?

@: The Chron study 1s being

‘conducted at the home bases of the
following four researchers Dr Margaret
Ragm, University of Pitssburgh, Dr
Jerry Powell, Unwernty of Cabfornia
Davis, Dr Broce Ewenstein, Harvard,
Dr Gi Whree, University of North
Carohna, Chapel Hil. The Transhar-
ouc Therapies tral ss being run with
Dr David Roth, Harvard The Aviger
study 1s bemg run by Dr Katherine
High, Unwersity of Pennsylvania and
Drs Mark Kav and Bert Glader, Sran-
ford More sites may be added to these
mals in the furure af the Phase 1 results

are encouraging

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 34 of 100

& How successi. 2's ‘"2s2
tnals been?

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 35 of 100

© amportantly, no medical problems have

been found im anv of the panents in
any of the muls to date

When will we know the cut-
come from these clinical trials?

> By next summer, these trials
should be finshed and much of the

data wall be analyzed It should be easy
to determune if there have been posinve

results, clotung factor levels m the
blood are bemg tested, the nme xt takes
blood to clot 1s beng measured, and
numbers of bleeding episodes mn
patents are beng monitored.

I heard recently that someone
died as a result of gene iherapy
trials Are the people mvolved
in the hemophilsa trials at risk?

Ey The mal where someone died 1s

very different from the hemophiha
tials The panent who died did not
have hemophiha

Katherme Fagh, MD, « physician and
researcher mvolved in the hemopinha B
pene therapy mals, notes that the he-
mophiha tals are not using the type of
vector (adenovirus) used in the chmcal
tial that Jed to the fatahrv in the other
case Further, Dr High points cut that
there has been no roxicity noted so far
many of the patents in the hemophtha
B gene therapy mal with which she 1s
involved Finally, Dr High emphasizes
that the patient who died had a disease
characterized by 2 deficiency of a liver
enzyme required to remove toxac waste
arising from protein breakdown It 1s

a completely diferent chsease from
hemophiha

e If gene therapy works for my
son, does that mean ihe chance

of someday passing his
affected gene to a daughter is
elimmated?

+9 No, 1 doesn’t The genenc
informauon that 2 person has mher~
ited from hus parents would be passed
down to his daughter Gene therapy to
treat future generations or even unborn

cluldren with hemophilia 1s a hotly
debated ethical issue that will be con-
sidered once mals such as these are
successful

@ How jong would gene therapy

fast?

No one can predict nght now
The goal xs for it co Jast as long as

possible, hopefully for years to come

What lf these first three inals
don’t work?

EP Other scenofic approaches, using

improved viral vectors to carry the
genes, are being developed m laborato-
ries around the world Some of the
most promsing new techmiques will be
tested in persons with hemophiha an
the next 1 to 2 years

What is the hope for gene
therapy for hemophilia?

re Scienusts hope that one day gene

therapy will provide the body with
the genetic mformanon needed to
produce clorung factor on 1ts own This
would present significant improvement
im the hives of persons with hemophila
in simple terms one can think of 1t as a
treatment. But dus trearmenr would last
considerablv longer than the 24 to 48
hours current clomng factor replace-
ment therapy lasts That would make
the gene therapy ‘ trearment” essennally
a cure

What about gene therapy for
other bleeding disorders?

re Most attenrion has been focused
on factor VIM and factor IX deficiency
However, once posiave resulrs are see71
m persons with these bleeding disorders,
the stage will be set co develop therapies
for other clonng factor defences,
mcluding von Willebrand disease

What can I do?

re It will be umportant for the

bleeding disorders communty to

Pet

advocate and rasse finds to more rapid-
ty move gene therapy for hemophiha
towards reality Getting more scienusts
to do research on hemophiha, both at
medical schools and in the biotechnol-
ogv industry will accelerate the cure
Since no one can predict which
method for delivering the genes 1s best,
1t helps for different scrennfic groups to
use many different techniques The best
ones will eventually get sorted out and

pursued 4

(Medical News

NHF Resolution on Hepatitis €

The NHF Board of Directors ap-
proved a resolution concerning hepatius
C on October 30, 1999 The resolu-
tion reads in part “A total populanor
of people has been devastated by the
outbreak of the deadly virus of hepaars
C It1s amperanve NHF look to both
the present and future with 2 cleart
definea goal of mproving the treatcmert
of those with HCV includ{ing] an
agpressive campaign of research, educa-
tion oversight, and advocacv” To view
the enure text of the resolution, please
visit the NHF web site at www hemo-
pinha org

Red Cross Launches Care 2000

The American Red Cross has
increased support to the worldwide
bleeding disorders commumty by
recently launching CARE 2000, a
muln-mulkon dollar undertaking to

fond chucal trals and research pro-
grams, as well as provide products to
commmunines in need In addinon to
sponsoring medical conferences and
college scholarshtps, CARE 2000 has
supported NHF's It’s Time for a Cure
campaign with a pledge of $200,000,
made last June

Contenvnd on Page 10 e

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 36 of 100

Report on the

System (UDC)

Includes data:collected from

Centers for Disease Control and Prevention
Atlanta, Georgia 30333

May 1998 through Octobe” 1999

Januan’ 2000/ Vol 2/No i

CDC ‘s | Jniversal [ata Collection System

hiversal Data Collection

CDC

DGEASE CONTROL
ano PEON

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 37 of 100

The Report on the Universal Data Collection System is published by the He~aic!sz >
Diseases Branch, Dision of AIDS, STD and TB Laboratory Research, Natoral Cente-
for Infechous Diseases, Centers for Disease Control and Prevention (CDC}, Auar:a,
Georgia 30333 All data are provisional

| Suggested Citation Centers for Disease Control and Prevention Repon cr tre
Universal Data Collection System 2000,2(No 1) [inclusive page rumte's

Centers for Disease Control and Prevention Jeffrey P Koplan, ho ib-
orecs”

National Center for Infectious Diseases James M Fugrss 4° >
oresc’

Division of AIDS, STD and TB Laboratory Research ~ Harold VY date * Mo
Dress’

Hematologic Diseases Branch Bruse LL. Eva:

J Michael Scuce Put
Epidemiologist, Hemoph lia Sur.2. arce

Sally OC Crudcey *.
Director, Hemophilia Treatment Certe” Frog’a~

Meredith Oakley, >Vii ‘P=
Proes’ Cccvs "ais

Kimp ner as 3
Da’a 474. ,5°

Single copies of the Report on the Universal Data Collection System are availaz's ~ss
from HANDI, the information service of the National Hemophilia Foundatisr bv ca. ~¢
(800) 42-HANDI Confidential information, referrals, and educational matera. c~ “er=-
phiha and other bleeding disorders ts also available through HAND! The Repo~ cs” ims
Universal Data Collection Systemts accessible via internet at http /www ede ge. “Sac
dastir/Hematology/HDBarchive htm

UDC Report 2 , 1 B42

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 38 of 100

Contents
Commentary 4
Tables
Table 1 Enroliment in UDC, May 1998 - October 1999 6
Table 2 Regional enrollment activity, May 1998 - October 199¢ 6
Table 3 Demographic charactenstics of persons enrolled in UDC 7
Table 4 Disease seventy of persons enrolled in UDC 7
Table 5 Bleeding episodes among persons enrolled in UDC Ey disease

seventy and prophylaxis status 8
Table 6 Blood and factor products used by persons enrolled nUDG 9
Table 7 Infectious disease complications among persons enralled in UDG 10
Table 8 Treatment type for persons with hemophilia enrolled » UDC 15
Table § Prevalence of current inhibitors by titer among pevso 1s with

hemophilia enrolled in UDC 15
Table 10 intra-crantal hemorchage (ICH) among persons with iemophila

enrolled in UDC 16
Table 11 Joint complicatons among persons enrolled in UDC 16
Table 12 Joint limitations among persons enrolled in UDC 17
Figures . :
Figure 1 Prevalence of hepattis A virus exposure and reported vaccination

status among persons with hemophilia "i
Figure 2 Regional distnbution of natural and acquired immunry to hepatitis A

virus among persons with hemophilia 11
Figure 3 Prevalence of hepatitts A virus exposure and reported vaccination status

among persons with vWD 12
Figure 4 Prevalence of hepatitis B virus exposure and reported vaccination

’ status among persons with hemophiha 12

Figure 5 Regional distnbution of natural and acquired immun ty to hepatitis B

virus among persons with hemophilia . 13
Figure6  —s- Prevalence of hepatrs B virus exposure and reported vaccination status

arrong persons with WWD 13
Figure 7 Prevalence of hepatitis C virus infechon among persons with .

bleeding disorders 14
Figure 8 Prevalence of human immunodeficiency virus (HIV) infection among

persons with bleeding disorders 14
Technical Notes 18
Acknowledgements 20
Hemophilia Treatment Center Regional Map 24
Vol 2,No 1 3 UDC Report

GH000583

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 39 of 100

Commentary

The two most common congenttal bleeding
disorders are von Willebrand disease (vWD)
and hemophilia vWD is caused by
defective synthesis or function of a protein,
called von Willebrand factor, which Is neces-
sary for normal blood clotting vWD occurs
with equal frequency in men and women
Although the prevalence of this disease is
not precisely known, it is estimated that be-
tween one and two percent of the population
are affected There are different types and

seventy of WWD Symptoms include heavy
or prolonged menstrual bleeding, easy bruis-
ing, frequent or prolonged nosebleeds, and
profonged bleeding following surgery, dental
work, childbirth, or injury

Hemophila 1s caused by a defect in the
gene located on the X chromosome that con-
tains the genetic code for one of the clotting
factor protems necessary for normal blood
clotting A deficiency of factor VIII is referred
to as hemophila A or “classic” hemophilia
In contrast, a deficiency of factor IX charac-
tenzes hemophilia B, also known as Christ-
mas disease The defect usually occurs on
one of the two female X chromosomes and
results in a camer state When males have
the defect on their only X chromosome, they
are affected with the disease Thus, almost
all of the approximately 17,000 persons with
hemophilia in the United States are male

People with severe hemophilia can experi-
ence serious bleeding into tissues, muscles,
joints, and intemal organs, often without any
obvious trauma Repeated bleeding into

Joints without adequate treatment results in

crippling chronic joint disease, one of the
severe complications of bleeding disorders

in the mid-1970s, treatment for hemophilia
was improved through the use of clotting
factor concentrates, products made from the
plasma of donated blood However, because
blood donations from thousands of donors
are pooled together to make these products,
many persons with bleeding disorders were

infected with hepatitis B and © viruses-a-=
with human immunodeficiency vus :F1." es
virus that causes AIDS, befcre ire -s« c-
disease transmission in biesd p’scuc’s wes
recognized and preventon Teasuves “a e-
In 1975, Congress inttated fsce’a: *urc 72
to specialized hemophilia treair-e1* cs7s"s
(HTCs) to provide comprehers ve cars *s
persons with bleeding disorders S nce *Ssé
CDC has been involved witn the nemor7 1.2
community through the H7™C sys-e~

Primarily through nisk-reducton eTars a “87
at preventing secondary imteaic7 c* ‘a~ .
members with HIV

In 1991, CDC received a "eques* “ro *re
National Hemophilia Founcaton .c exces
their collaborative. activites “117 ~ ‘72
bleeding disorders community Veetvgs vit
patients and hemophila care prcvicers weve
held during 1992 to deterrre :né a”szs sv
jhighest prionty Based on reco™™ercaiss
from these constituents, a Co7s*sss 274
mandate was issued to CDC wit tre cca. o-
reducing the human suffering ava fira-s4
burden of bleeding disorders by “cous 13
national emphasis on preventior and ear,
Intervention The issues of g'eatesi co-se—
identified by the bleeding d:isovsers co™—_-
nity were 1) the safety of tne occa Sucr
from infectious diseases, ard 2) ‘re c-s.s"-
tion of ;oint disease

In response, CDC developed t"e L~ =
Data Collection System (UDC) Tre out
of UDC ts two-fold 1) to establish a se"s™
blood safety monitoring system a7=:
persons with bleeding disorders anc 2 ~

collect a uniform set of clinica’ cutsoves

da Q «
aoe m

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occurrence of and potentia: rs tac’c"s
infectious diseases and joint complicatc7s
Persons with bleeding disorde’s ave e-"> 52
in UDC by care providers in easr ov rs
nation’s 134 federally funded HTCs As cra>
of the project, a uniform se? o- cir sa 22:2

om,

and a plasma specimens arecclesacc, — —

UDC Report

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Staff each year dunng the participant's annual
comprehensive clinic visit A portion of the
plasma specimen ts used to perform free
screening tests for hepatitis A, B, and C
viruses and for HIV The remainder of the
specimen !s stored for use as needed in
future blood safety investigations

Enrollmert in UDC began in May 1998 In-
formation about eligibility requirements, en-
rollment procedures, and data collecton can
be found in the Technical Notes of this re-
port Participating HTCs are listed by region
inthe Acknowledgements Aregional map is
included at the end of this report

The purpose of this surveillance report is to
disseminate the information being collected
by this project to public health workers, health
educators and planners, other care provid-
ers, and patients in the bleeding disorders
community The report contains information
about the demographic charactenstcs of the
participants, their blood and factor product
use, and the occurrence and treatment of joint

and infectious diseases We hope that this
informator will prove useful to those involved
in efforts to reduce or prevent the complica-
tons of these conditions

The proper interpretation and appropnate
use of surveillance data require an under-
standing of how the data are collected,
reported, and analyzed Therefore, readers
of this report are encouraged to review the
Technical Notes, beginning on page 18

Suggested Reading"

CDC Prevention of hepatitis A through
active or passive immunization Recommen-
dations of the Advisory Committee on Immu-
nization Practices (ACIP) MMWR
4996,45(No RR-15) 1-30

CDG Transmission of hepatitis C virus infec-
tion associated with home infusion therapy
for hemophilia MMWR 1997,46 597-599

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 40 of 100

CDC Occurrer ce of hemophilia in the United
States American Journal of Hematology
1998, 59 288-2 94

HillH, SteinS Aral infections among patients
with hemophilie m the state of Georgia Ameri-
can Journal of Fematology 1998,59 36-41

The following ¢ ublications are available from
HANDI (800-42-HAND))

- What You Should Know about Bleeding
Disorders (19S7!

- Compreher sive Care for People with
Hemophilia by Shelby Dietnch, MD (1991)

~ Understardir g Hepairtis by Leonard Seeff,
MD (1997)

- HIV Disease 17 People with Hemophilia. Your
Questions An: viered by Glenn Pierce, MD,
PhD (1991)

- Bleeding Disorders and AIDS The Facts

(1997)

- Information packet on von Willebrand
disease

Vol 2,No 1

UDC Report

GH000585

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 41 of 100

Table 1. Enrollment in UDC, May 1998 — October 1999

Month Number Enrolled Number Refused Refusal Rate '°-

May—Oct, 1998 988 85 79
November 224 25 103
December 219 26 106
January, 1999 318 25 73
February 359 38 96
March 368 49 118
Apni 363 40 99
May 359 43 107
June 415 40 88
July 307 42 12¢
August 355 64 153
September 297 54 154
October 236 43 154
Total ' 4808 574 107

Table 2. Regional* enrollment activity, May 1998 — October 1999

Region Number Approached Refusal rate (%

{ 216 “116
il 776 126
WW 805 164

V-N 480 63
IV-S 308 107
V-E 289 118
V-W 633 76
Vi 628 131
Vil 206 U7
Vit 327 37
IX 634 79
Xx 14 0

*See map (page 24) for regional designations

UDG Report 6

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GHO00586 ~

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 42 of 100

Table 3. Demographic characteristics of persons* enrolle d in UDC

Hemophilia vWD
A (n = 3248) B (n= 761) (n = 723)
Charactenstic Number Percent Number [Percent Number Percent
Age Group (years)
2-10 918 28 4 192 253 199 276
11-20 1007 3117 199 263 262 363
21-40 788 246 229 302 131 18 1
41-60 443 137 108 142 93 129 —
6t+ 72 22. 30 40 37 51
Race / Ethnicity
White 2236 689 556. 731 529 732
Afncan Amencan 391 120 92 121 28 39
Hispanic Ai6 = 1D B 81 106 69 95
Asian / Pacific Islander 78 24 8 11 21 29
Native American 27 08 6 08 7 10
Other 99 30 18 24 69 95
Sex ;
Male 3189 98 2 743 976 342 473
. Female 59 18 18 24 381 527

*Twenty-four pe-sons were reported to have both hemophilia and vWD, and 98 persons
had a bleeding disorder other than hemophilia or WWD

Table 4. [Disease severity of persons enrolled in UDC

Hemophilia - vWD
Mid Moderate Severe Type 1&2 Type 3
N % N % N % N % N %

Participants* 827 205 919 230 2261 565 580 885 75 #6315

*Numbers do not equal total number of persons because of nussing data

Vol 2,No 4 7 UDC Report

GH000587

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 43 of 100

Table 5. Bleeding episodes* among persons enrolled in UDC by disease severity

and prophylaxis status
No prophylaxis
Hemophiha vWD
Mild Moderate Severe Type 1&2 Tyce3

Bleeding site n=817 n = 825 n= 1687 n= 560 n= 74
Joint 06 (2 3) 38 (7 8) 93 (12 1) 02 (1 6) 37 (8S
Muscle -03 (1 0) 11 (24) 2668) 01 (08) 05(13:
Other 07 (2.9) 14 (44) 20 (47) 31 (8 4) S9O(e5
All sites

Mean 17 (41) 62(103) 139 (161) 3 4 (8 6) BC MCS

Median Oo 3 10 0 4
With prophylaxis

Hemophila
Mild Moderate Severe

Bleeding site N=3 n=49 n=315
Joint 05 (1 0) 27 (40) 3 2 (6 8)
Muscle ot) 1164) 08 (22)
Other 12 (15) 12 (83) 14 (64)
All sites

Mean 181 3) 5 1 (93) 5 4(95)

Median 2 3 2
*Values are mean (SD) number of bleeding episcdes expenenced during the 6-rs7>
penod preceding the UDC visit
UDG Report Ac 2h

GHO000588 »

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 44 of 100

Table 6. Blood and factor products used* by persons enrc Iled in UDC

Hemophilia A Hemoph ha B vWD

Treatment pi oduct Number Percent Number Percent Number Percent
Recombinant factor 1991 613 406 53 4 4 06
Monoclonal ‘actor Vill 664 204 1 01 2 03s
Other human factor’ 156 48 1 01 148 212
Porcine factor Vill 6 02 0 _— 0 _
Punfied factor IX . 5 01 577 96 4 0 _
Prothrombin complex 59 18 32 42 0 —_
Activated prothrombin complex 156 48 11 14 0 —
Cryoprecipitate or FFP 12 04 5 07 14 20
Desmopressin 191 59 2 03 263 376
None used 294 91 122 160 259 37 1

*Any use of the product(s) during the 12-manth penod precedi 1g UDC enrollment

NOTE Individuals may have used more than one type of treat rent product

Vol 2,No 1 , 9 UDC Report

GH000589

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 45 of 100

}

Table 7. Infectious disease complications among persons enrolled in UBC

. Hemophilia WYO

Infectous Disease Complications Nurber %ofTotal Number ‘sc 72a
Risk factors for Iver disease

Past/present hepatts B virus infection 808 202 25 es

Past/present hepatitis C virus infection 1883 470 59 82

History of alcohol abuse 147 . 87 3 C4

Other 41 10 8 7"

None 6033 507 650 29
Signs or symptoms of liver disease

(During the last year)

Jaundice 27 07 1 a¢

Ascites 25 06 1 oc”

Varnices 17 04 0 —

Other 45 “44 1 Ci

None ‘ 3920 978 720 g3¢
Laboratory markers of liver disease \ =

Chronically elevated ALT/AST levels 721 180 15 2: @

Elevated prothrombin time in the last year 101 25 10 a4
Therapy for chronic viral hepatrts

Any therapy 167 42 5 c

Successful therapy 30 18 O* 1 Zo <*

Intravenous access devices (IVAD)

Used an IVAD in the last year 496 124 24 $3

IVAD infection in the last year 66 133** 3 *25™

*Percent of persons who received any therapy for chronic viral hepatitis
**Percent of persons who used an IVAD mn the last year-

UDC Report 10 ss

GH000590

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 46 of 100

Figure f. Prevalence of hepatitis A virus exposure and reported vaccination
status among persons with hemophilia

100
80 ee
2
§ Pr - Fy” - TrRo-
é L
2 7 “{ [> -
| iB
}
o |
2-10 41-20 21-40 41-60 E1+ all
Age Group

CiantrHA\ + MliVaccingted

Figure 2. Regional* distribution of natural and acquired immunity to hepatitis A
virus among persons with hemophilia .

100

% Patlents

I to om VMNMS VE VW VwovIovl kK

Region

‘  %See map (page 24) for regional designations

Vol 2, No + 11 UDG Report

GH000591

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 47 of 100

Prevalence of hepatitis A virus exposure and reported vaccination

Figure 3.
status among persons with vWD
100
BOF - - = = = = = = = &
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EC 60 = ~~ = = me me me ee
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&
xe Mr or 7- 7 = 7H 7 7~
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0 a
2-10 11-20 21-40 41-60 61+ all
Age Group
Cianti-HAV - M§Vacc.nated
Figure 4. Prevalence of hepatitis B virus exposure and reported vaccinaticn
status among persons with hemophiha
100
80 -_ - |-
2 | es’
c 60 -
2
&
x 40 ~
20 a
0 a arr:
2-10 11-20 21-40 41-60 61+ all
Age Group
Mant-HBS + BaVacc.na’sc
12 we é he “

UDC Report

GH000592

=Cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 48 of 100

Figure 5 Regional* distribution of natural and acquire:! immunity to hepatitis B
virus among persons with hemophilia

Goal 100%
100
40 7
° 2 60
2
3
a
- # 40
20
> ea [os beers Fic :
I N i WNWS VE VW WU VI vl kK Xx
Region
© *See map (page 24) for regional designations

Figure 6 Prevalence of hepatitis B virus exposure anc) teported vaccination
status among persons with vWD .

100

80 4

% Patients

ft
°

ee

2-10 11-20 21-40 41-60 61+ all
Age Group
QCiant HBS + BVaccinated

Vol 2,No 1 13 UDC Report

GH000593

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 49 of 100

Figure 7. Prevalence of hepatitis C virus infection among persons with
bleeding disorders
100
sob - - - _ -— 2. 2. Ld
- |
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=e 6FfF - - - - + fF - -
2
&
ez Fr - - ~ 7 ~O&F -
“ICI wet
0 bm a
2-10 11-20 21-40 41-60 61+ all
Age Group
CiHemephiia BMD
Figure 8. Prevalence of human immunodeficiency virus (HIV) infection
among persons with bleeding disorders
60
ag 40F - - - ~
s
a
- |
& 20 ew -_ ~ — —_— — —_ - -
t
4
0 fp] i |
2-10 11-20 21-40 41-60 61+ all
Age Group
DoHemophiia BWV
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GHO000594

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 50 of 100

Table 8. Treatment type for persons with hemophilia enrolled in UDC

Number on Number on

Total : Episodic care Intermittent continuous*

Seventy number No (%) prophylaxis prophylaxis
Mild 821 808 (88 4) 9 4
Moderate 919 , 784 (85 3) 41 94
Severe 2261 1503 (66 5) 186 572

*Prophylaxis is considered continuous when administered for at least 46 weeks per year

Table 9. Prevalence of current inhibitors by tter* among persons with hemophilia

enrolled in UDC
Hemophiha A Hemophiha B
Seventy Number Lowtiter High titer Number Lowtiter High titer
Mild 650 2(01) 1003) 171 0 0
Moderate 659 «11(17) ~=9(14) 260 0 1 (04)
Severe 7932 74 (38) 116 (60) 79 4(12) 15(46)

*Low titer 1s defined as an inhibitor level of 0 5 — 5 Bethesda units (BU)
High titer 1s defined as an inhibitor level of >5 BU
Numbers tn parentheses are percents

Vol 2,No 1 15 UDC Report

GHO000595

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 51 of 100

Table 10. Intra-cranial hemorrhage (ICH)* among persons with hemophitia enrolled

in UDC
Hemophilia A Hemopnilia B
Seventy Total No with ICH (%) Total No wir .Ck °s
Mild 650 102) 171 0
Moderate 659 6 (09) 260 1 (04)
Severe 1932 21 (1 1) 329 42)
Causes of ICH Number (°s)
Trauma 15 (53 6)
Thrombocytopenia 1 (3 6)
Other 12 (42 9)
*Diagnosed by a physician during the year prior to the UDC visit
Table 11. Joint complications among persons enrolled in UDC
Hemophilia WE
Mild Moderate Severe Type 1&2 “cee
N % N % N % N 9% hy *5
Target joint* 73 «#€689 281 306 1129 499 10 18 “7 g27
invasive procedure 33 40 63 69 277 122  # #16 7 $3
Joint infection 6 07 14 =#15 39 «#17 3 05 co
Used cane 114° 139 230 250 711 314 358 62 “8 2°
Used wheelchair 14 #17 60 65 236 104 16 27 = &3
Any activity restriction 119 145 282 307 957 423 40 71 2% 282

*Please see Technical Notes (page 18) for the definition of a target joint

UDC Report —

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 52 of 100

Table 12. Joint limitations among persons enrolled in UC

Hemophika vWD
Mild Moderate Severe Type 1&2 Type 3
Number of patents 777 841 1992 531 70
Mean indicator* value 537 969 159 4 282 670
Standard deviakon 99 4 1757 2208 670 1103

*indicator 15 the lotal number of degrees of range of motion less than normal for five joints +The
joint motons measured and normal values used (in parentheses) are hip extension (30), hip
flexion (120), knee flexion (135), knee extension (0), shoulder lexion (180), elbow flexion (150),
elbow extension (0), elbow pronation and supimation (80), ankle dorsiflexion (20), ankle plantar
flexion (50) Any hyperextenston of the knee or elbow is not nc luded in the calculation In UDC,
limitations in knee and elbow extension are recorded as negat ve numbers Patients with miss-
ing measures for any of the joints are excluded from the analyses As an example, patients with
mild hemophilia have on average 53 7 degrees less than ncrmal range of motion across ten
soints

Vel 2,No 1 17 UDC Report

GH000597

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 53 of 100

Technical Notes

Eligibility Requirements

To participate in UDC, patients must receive
care in a federally funded HTC and meet at
least one of the following cntena 1) age 2
years or older with a bleeding disorder due to
congenital deficiency or acquired inhibitors in
which any of the coagulaton proteins is miss-
ing, reduced, or defectrve and has a functional

level of less than 50 percent, or 2) age 2 years
or older with a diagnosis by a physician of
von Willebrand disease Indriduals specrfi-
cally excluded from participation in UDC in-
clude persons with any of the following 1) an
exclusive diagnosis of a platelet disorder, 2)
thrombophila; or 3) coagulation protein defi-
ciencies due to liver failure

Data collection

UDC data are collected during the
participant’s “annual visit,” which ideally
should occur once each calendar year (Janu-
ary-December), with the interval between vis-
its as close as possible to 12 months Data
are collected according to guidelines and
definitions detailed in surveillance manuals
provided to HTC staff by CDC Informed con-
sent for participation is obtained each year
Demographic information and reasons for
refusal are obtained using a Patient Refusal
Form for all eligible persons who decline par-
ticipation To protect patient confidentiality,
all data sent to CDC do not contain person-
ally identifying information, but rather use a
unique 12-digit code that is generated by a
computer software program supplted to HTCs
by CDC

Eligible participants are registered into UDC
through a Registration Form completed by
HTC staff, this form includes patient demo-
graphic, diagnostic, and histoncal information
Month and year of birth are used to calculate
age on the last day of the current year Infor-
mation on race and ethnicity is obtained from

clinic records and may have peer 2ase
either on self-report or on cbservazc"s az
by care providers

During the annual visit cun.ca. r-cT-2u20°
is recorded on a standardized cata collects
form (Annual Visit Form) In acdiion te iv*er-
mat on about education, employment staius
and health insurance, data areasccc ssc
about treatment type (episoaic vs Erogt. ac
ic), presence and treatmer~ ot r- orsvs <6
number of bleeding episodes excere ses
(based on infusion logs or patientreca. =a
and brand name of all factor concenza-ss
or other treatment products used avs
whether or not clotting factor 1s intused a-
home
‘ Information regarding infecucis diseases
Is also collected including msx facvce’s a-c
clinical signs, symptoms arc azc7éecy
markers of liver disease Data are disc -3-
‘corded about any therapy for c-’c"'s Ferat-
hs, the status of vaccination *cr neoars A
and B viruses, and, among patierts wr" an
intravenous access device, the ccc.Te-se
ofa device-associated infection Persons>"€

years of age who are HIV-infec’es ave as<sa -

several questions concern ng rSn-rea.3° o7
activities including partner testrg acc co7-
dom use

Data are also collected on jo.“t aisease,
including the use of walhing ards *-e
occurrence of joint infections, and r-eas."es
of impact of joint disease on dan, acu." ss
During the visit, range of motion reas.-s-
ments on five joints (hip, knee, shkculcs” &-
bow, and ankle) are taken by ao sica. tre"a-
pist or other trained health care provice’ ac-
cording to detailed guidelines previdec - 2
reference manual supplied by CDC Aa reach
care providers performing these rreasure-
ments are trained and certified ny regc7e’
physical therapists who have ‘hes@'. 85 “S-
ceived centralized training Inacausr 72"
maton about whether a parac.'ar cm Ss @
“target joint” or whether the pa~c can "2

_ UDC Report

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required the use of an orthopedic appliance
or has undergone an invasive orthopedic
procedure ts collected in UDC, a target joint
is defined as a joint in which recurrent bleed-
ing has occurred on four or more occasions
during the previous 6 months or one in which
20 Itfe-time bleecing episodes have occuned

All data collection forms are sent ovemight
to CDC where trey are then key entered into
acomputer database using double-entry soft-
ware to minimize data entry errors Data are
then screened fer omissions, inconsistencies,
and unusual va.ues that possibly represent
abstraction or data-entry errors Error reports
are generated and faxed to the HTC, where
a designated UDC contact uses available in-
formation to resolve discrepancies and com-
plete missing data Items - ‘

Laboratory testing

During the annual visit, a blood specimen
is obtained from each participantin UDC The
specimen ts processed by HTC personnel
according to guidelines provided by CDC that
are designed to minimize the effects of stor-
age and shipment on subsequent analyses
Samples are shipped overnight to the CDC
Serum Bank where they are aliquoted and
stored A portion of the specimen is sent to
the Eugene B Casey Hepatits Laboratory at
Baylor College of Medicine in Houston, Texas
A second portion is sent to the HIV Testing
Laboratory at CDC The remainder of the
specimen is stored in the CDC Serum Bank
for future blood safety investigations, as
needed

Testing {or hepattis A, B, and C viruses fol-
low algorithms designed to determine with the
highest probability the patient's status with
regard to exposure to or infection with these
viruses jnformation provided by HTC staff
on a Laboratory Form, including the results
of previous local testing and vaccination his-
tory, !s used by personnel! at the testing labo-
ratory to provide a detailed interpretation of
the test results ,

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 54 of 100

Testing for H V follows algonthms designed
to determine patent status with regard to
infection with -IV-1 and HiV-2 The results
of all laborato’y testing are reported to the
HTC using the CDC unique code which can
be matched tc the patient only by HTC staff

Mortality reporting

Deaths ccc iming among all HTC patients
{regardiess of whether or not they have been
enrolled in UL C) are reported to CDC using
a Mortality Fo m Data collected include age
at death, sex, ace/ethnicity, disease type and
severity, and vhether or not blood products
had been use j during the year pnor to death
Additionally, information about the death, in-
cluding the dete, cause (primary and contnb-
uting), and wether or not an autopsy was
performed, ts also collected

Tabulation atd presentation of data

Data in this report are provisional The data
presented in his report represent the first 18
months of what is planned to be at least a 5-
year survei lance project Future reports wil
include expa iced data tables to cover Sub-
sequent surval lance pertods and will provide
the results of nore detatled analyses of avail-
able data and findings from special studies

Vol 2, No * 19

UDG Report

GH000599

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 55 of 100

Acknowledgements

their assistance in the implementation and technical support of UDC Data

or $ "ston

were collected by care providers in HTCs at the fcllowing institutions

Region |

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New England Hemophilia Genter
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Vermont Regional Hemophila Center
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SUNY Health Science Center - Pediatnc
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UDC Report

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 56 of 100

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Medical College of Georgia - Adult Chicago, 'L
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Birmingham, AL MerttCare jo spital DBA Roger Maris
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Vol 2,No 1 UDC Report
GH000601

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 57 of 100

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Sacramento, CA

University of California, San Franc'ssc
San Francisco, CA

Orthopaedic Hospital of Los Ange.es
Los Angeies, CA

Children’s Hospital, San Diego
San Diego, GA

Children’s Hospital of Orange Couriv
Orange, CA

Children’s Hospital Oakland
Oakland, CA

Hemophilia and Thrombosis Center c~
Nevada, Las Vegas, NV

Guam Comprehensive Hemophilia Care
Program, Agana, GU

City of Hope National Medical Cente”
Duarte, CA

Lucile Salter Packard Children’s
at Stanford, Palo Alto, CA

University of California

Hosrra

University of Missour! Hospital and Clinics San Diego, CA
Columbia, MO
Region X
Region VIII
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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 58 of 100

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We would also like to acknowledge the assistance of the UDC Working Group, which ts
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Vol 2,No 1 23 UDG Report

GH000603

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 59 of 100

Hemophilia Treatment Center Regions

Region:

Region V- West

Region V- East

on VI

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Y Regicr iV- No

° % an 2 =a Region Iv- Sc.

D Region VI —
Hawaa & Guam Puets ict a.rs7 s
Begon X Reger
*Denotes location of regional core centers
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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 60 of 100

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 62 of 100

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To Distnbvtion Date June 28, 2009

From Jelena Popac.c

Distnbution M Beldndge, A Baumann, T Comiskey, B Connolly’, t Ehriich, E Gomperts,
L Gutheen, C Immel, H Halbntter, J Hauert, D Hernandez, Minoue J Reuter $ Reindt*,
N Riedel, D Swan, G Thomas, | Thomas, J Weinstein* (Incluaec Apoerdiy J witn rezort™

Re Recombinant FVII Conjoint Study Report

Please find your cepy of the Recombinant FVII report that was pres2red to summarize tre
results of the conjoint study The study was a global/US initiative c onmisstoned by Teresa
Comiskey and Jim dauert This custom study took place in eight co untnes and involved
333 respondents The participants in the research were asked te tr*ce off several preduct
features as described in the report A summary,of the results car b2 found in the
Management Summary section

To note Appendrx ! (fieldwork documents) and the multi-country c omputer tabulations,
that are referred to in the report, are quite lenethy and, as such, v ee not included with
the report bui are available upon request In the near future, this 1 formation will also be
available on the NA Marketing Research intranet site (password p-o ected)

in addition to the report itself, a computer simulation of the product features studied was
developed to allow for further analysis

Please feel free to call me at 847 940-5956 should you have questions regarding the study or
the associatec deliverables

Hyland Immuno North America Marketing Research

GH000607

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 63 of 100

Recombinant Factor Vill positioning study

Multi-country report
June 2000

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 64 of 100

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Recombinant Factor VIII positior ing study

Multi-country report

Prepared for Baxter Hyland Immuno

J 500398 June 2000

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Case 1:01-cv-12257-PBS Document 6866-13

Filed 01/27/10 Page 65 of 100

NOP (Hea'trsave
CONTENTS Page
introduction - - -
Objectives . i

1 Primary objective |
2 Secondary objectives
Research method.
41 Design
2 Sample
3 Fieldwork
4 Data analysis
Demographics .
+ Type of patent respondent ~
11  Aduiltfpaediatnc
12 Age of paediatnc patients

13 Length of tme since diagnosis

Management summary. — -

1. Relahve importance of product features
2 Breakdown of haemophilia patients

3 Patterns of Factor Vill usage

4 Pattems of recombinant Factor Viil usage

MAIN FINDINGS... ... ..  .
1 Haemophiha patient workload
2 Haemophilia patient types ...
21 Haemophilia type A/B
22 Aduit/paedtatnc patents
23 Seventy of condition
3 Factor Vili usage

34 Plasma/recombinant Factor Vili usage

1000 BO Go SAR M Saw ewe mL

32 Duration of recombinant Factor Vill usage

33 Recombinant Factor Vill usage for prophylaxus/treatment

ew

34 Use of portacaths for deliverng recombinant FVIII

35 In-centre administration of recombinant Factor VIil
36 Most wdely used Factor Vill products
37 Most widely used rFVIll products (USA and Japan)

3 6 Influences on choice of product

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tom —. ed

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. 39 Level of satsfacton with currant rFVIll products Zz:
3 10Desired improvements ze
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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 66 of 100

NOP (Heattncare

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@ 4 lRelative importance of recombinant FVIII preduct features
41 Recombinant FVIII full profile conjoint task 27
42 Relatve importance of attnbutes and levels within attnbutes

421 Human protein

422 Continuous mfusion

423 Room temperature storage

424 Reconstituton

425 Assay issue

426 High potency

427 Diluent volume

428 rFVIli molecule
43 Reasons for ranking preferred product first
44 Level of interest in using preferred product

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APPENDICES

| Fieldwork documents
(a} Physicians
(b} Nurses
{c) Patents

Hi Trade-offfconjoint exercise
(a) Atinbute list

(b) Statistical results
@ (¢ Background

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 67 of 100

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introduction eo

Baxter's Hyland Immuno division currently markets several producs -s- =a
treatment of haemophilia A, including Recombinate i

The Factor Vill. market compnses human plasma-denvec preduc’s a-s =6 —2°s
recently inttoduced genetcally engineered recombirart crod.cts cesec <7
recombinant DNA technology) Recombinate 1s a dominant playe” in > s “as:

Recombinate and the other recombinant Factor Vill (rFVIII) erocucts cuvect

available contain (human) albumin, which 1s added to the Factor VIl e-s*ae > 28
final stage of production in order to stabilise the product Furre-™cre ss ca

culture medium used in the preparation of rFVIll products alsc cc-ta “s 22.77
This poses the theoretical nsk of viral contamination and “ersrac-ss 27s
currentiy developing protein free rF Vill products

Baxter's research and development is directed towards a comves cre 7 ~ss ©
rFVill and the company has a potential product in the early pnases <7
However, Genetics Institute and Bayer are also known to be deve'sc ~
protein free rF VII products

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Baxter now faces the challenge of maintaining tts dominant place "t's 3.2.73
market until such time as its new orotein free product is lIauncres Bsoo Se7siss

Ae ater A Ae

Insttute and Bayer wil have the benefit of reformulated rroducts °c S'a> $73
albumin) and Baxter is considenng several positioning swaegres “S acu" 2 Ts
threat posed by these new products These strategies are

1 Reduced volume infusions
The volume of a Recombinate infusion is currently *C mi, wn e@ sae c° ts
compettors is 25 ml and 5 mi Baxter may wish to recuce ie Recowso 72 €
infusion volume It 1s advisable to determine the optima! vo .~e a7s «7a
reduction in volume ts considered sufficiently significant tc a™e> ccocls

choice

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 68 of 100

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2 Higher potency
A possibility being considered Is to extend the licence for Recombinate in the
future to include a potent dosage of 1,500 or 2,000 1u (the highest potency
dose for current rFVIIl products is 1,240 1u) This dose would better
accommodate therapy for adults (a large adult can have up to 2,500 t u)

3 Contnuous infusion indication

Another possible product licence extension wou d be to include an indication for
continuous infusion Currenily none of the rFV II products are licensed for this
indication and because of this, there is believed to be some resistance amongst
pharmacists fo mix rFVIil into an iv bag for conJnuous infusion Its esumated
that some 10% to 15% of rFVIIl usage ts used n continuous Infusions (for pre-
and post-surgical use) and it is not known whether or not the new reformulated
products will have this indication

4 Novel reconstitution device
A novel device is being considered for safer, fas er, easier ana more convenient
reconstitution and administration of Recombinate 1a needieless device, poss.r y
al‘owing for multi-vial doses)

In addition, there are a number of other factors fat may influence the use of
specific rF VII products, including

> Human protein - whether used in both marufactunng and stabilising, in
‘manufacturing only (reformulated products) or no used at all

> Assay requirements — whether the commonly ised one-stage assay can be
used or if a chromogenic assay ts required (reformulated products)

‘> Room temperature storage — whether the rFVIll ¢ roduct requires refrigeration or
if it can be stored at room temperature If room temperature is applicable, the
shelf life of the product may vary from 3 months to 2 years

> Molecule type - full length FFVIII or B-domain deleted rFVIll

Baxter commissioned NOP Healthcare to conduct a trade-off study in the USA,
Japan and Europe, to assist in the development of a positioning strategy for
Recombinate and the next generation rF VIII products

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 69 of 100

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Objectives

1. Primary objective

importance of the various rFVIII product features ard the seeced 4.68 o>
each feature

The relative importance of these features and levels was measured irceca*ce*_
for the three groups of respondents - physicians, nurses and patien’s

2. Secondary objectives

The secondary objectives of this study were to establish the fo ‘cw.rg

The breakdown of haemophilia pattents by
* types A and B @

The breakdown of haemophilia A patients by
e adult and paediatnc,

« seventy of condition,

» length of ime since diagnosis

Patterns of Factor Vill usage
e purpose of treatment — prophylaxis or on demand,

e use of portacaths,
e use of recombinant versus human plasma-denved products

e use of specific brands,
® factors influencing the choice of Factor Vill treatment.

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 70 of 100

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Management summary

Relative importance of product features

The trade-off exercise in this study was designed tc assess both the relative
importance of vanous product features as well as the varying levels within each
feature Of the eight product features selected by Baxter to be included in the

exercise

iV

Reducing/eliminating human protein is the nost important feature
(elrrinating is significantly better)

Capabilty for continuous infusion Is the second Tost important feature for
phys’cians and nurses (label indication not pa*tesarly important)

Roorn temperature storage ts the third most impcrtant feature (significant
improvement if it does not require refrigeration, stepped improvement with
shelf life)

Reconsttution is of some importance for nurses and patients (needieless
System and single step procedure)

Assay issue is not particularly important for phrsicians and nurses (but
one-stage preferabie)

Higher potency product is not particularly sougtt after (but 1,500 tu or
2,0001u preferable)

Diluent volume is unimportant (but smaller volumes preferable)

rFVIIl malecule 1s unimportant for physicians

Breakdown of haemophilia patients

Approximately four out of five patents are haemop'tlia type A

Just over half are adults

Approximately half of the haemophilia A patient: (USA and Japan) are
classified as having a severe condition, and one quarter as having
moderate and mild conditions respectively

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 71 of 100

NOP [Healthcare

3

Patterns of Factor VIll usage

£

Factor Vili is used predominantly as prophylaxis among paedascs cu
more on an ‘as needed’ basis among adults

Portacaths are used by less than one tn ten adult sufferers, bu’ b, a cs"
one-third of children

On average, rF VIII is being prescribed for around two-tnirds of paie7"s ava
around one-third are being prescrbed human plasma-denved ercauc’s
The most common influences on choice of treatment are sa‘evy esac,
supply and cost

Patterns of recombinant Factor Vill usage

The average length of time that patients have been using rFVitl 1s eo7°
years for adults and four years for children

The majonty of patients are fairly to very satisfied with the rFVII! c-caucsts
currently available, the main reason for patient satisfacter sens -~e
efficacy of the products

Recombinate is the most widely used rF VIII product fcllowec 5, <sge-a"s
In addition to reducing/eliminating human protein te catac:. “Ss
continuous infusion and room temperature storage, rFVIll use’s aisc 4e7°
to see reduced cost, longer half-life and improved safety

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 72 of 100

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Patterns of recombinant Factor Vill usage

e tength of tme rF VII products have been used,

e level of satisfaction with currently available prod scts,
* reasons for satsfacton/dissatsfacton,

e desired improvements to currently available proiucts

The preferred rF VIII product (conjoint task)

e reasons for ranking chosen product first,

e level of interest in using chosen product,

e willingness to pay a price premium for selected ¢ roduct.

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 73 of 100

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Research method

Design

To establish the relative importance of the various product features arc te ¢.¢8
within each feature, a full profile conjoint technique was incesc"s"ea - = Te
design of the research

The following attnbute battery (anc levels within each attncu’e’ was .sec

1 Human protein
) used in manufactunng and stabilising (final fore uasc7
il) used in manufactunng (culturing), but rot nr tre ira “om. azs-
(for stabilising)
it) not used at all

This atinbute was included in the tasks for docters, nu'ses 474 2B.e7.s

@

2 Continuous infusion
1) an approved indication
tt) product has capability, but not approved (lave ~c cazc-
ii) not possible

This attnbute was included tn the tasks for docters and ruses c- .

3 Diluent volume
1) 2 5mi
it) 5ml
it) 10m

This atinbute was included in the tasks for doctors nurses avs rare *s

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 74 of 100

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4 High potency

y 1,000 1u
) 1,250 tu
it) 1,500 1u
Iv) 2,000 1 u

This attnbute was included in the tasks for doctors, nurses and patients

5 Assay issue
) requires one-stage assay
I) requires chromogenic assay (not available in every hospital)
This attnbute was included in the tasks for doctors and nurses

6 Room temperature storage
1) Cannot be stored at roorn temperature (requires refngeration)
it) 3 months
in) 6 months
Iv) 1 year
v) 2+ years

This attnbute was included in the tasks for joctors, nurses and paterts

7 Reconstitution
1) current standard (two vials)
il) current standard, with needleless reconstituton/mixing
inl) single step procedure (I e - pre-filled, ready-to-use synnge)

This attnbute was included in the tasks fer nurses and patients only

8 IFVIIl molecule
) full length
n) B-domain deleted

This attnbute was included in the tasks for c octors only

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 75 of 100

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These atinbutes and levels were incorporated into a 32 card (for acos-s acc @
nurses) or 25 card (for patients) orthogonal design for a ful! pro“ie co- 27° 2s.

The resulting utility values provided an indication of the “e'aave troca-se c- e227
atinbute and each level within each attnbute

_ Baxter Hyland immuno '
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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 76 of 100

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Sample

Haemaitologisis and nurses were recruited and scre2ned to ensure that.

e ney worked at or were affilated with a specia ist/comprehensive haemophilia
teatment centre,

® they specialised in the treatment of haemophil a/pleeding disorders,

e they were involved specifically in the treatment o” haemophilia A

Additionally, they were screened to ensure that.
e the haematologists were prescnbing rFVI] ordducts in the treatment c*
haemophilia A,

e the nurses were regularly involved in the reconstitution and administrator o*
rF VIII products for treating haemophilia A.

Haematologists in Europe were only recruited if trey were treating five or more
haerrophilia A patients \

Patent respondents were screened to ensure that
© either they personally suffered from haemophilia 4 or had a chila suffenng from
the condition,
» that the haemophila A sufferer was using a rFVIII product to treat their
condition

‘Quotas were imposed in each country to ensure thet the patient group included a
significant proportion of paediatnc patents, who ar3 more commonly presenbed

IFVIll The target quotas were 66% paediatnc and 32% adult patients

Baxter withdrew one country (Germany) from the study and it was not possible to
meet the quotas in either Japan or Denmark Ths was because of the small
number of haemoptyiia centres in Denmark, and due to the social stgma
associated with haemophilia in Japan

As a result, more doctors and patents were recruted in the USA to assist in
reaching the target quotas for each respondent group

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 77 of 100

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The resulting sample totalled 333 respondents, and included $9 raematc cg sts 2
nurses and 172 haemophilia A patients who were receiving rFVIl ~nsers) “es
sample breakdown is shown in the following table

'  Gountry | -Doctors . Nurses Patients Tota
Italy 10 - 20 22
France 10 - 20 $2
UK 10 10 22 42
Spain 5 - 1¢ *é
Sweden 5 5 1c, 2:
Denmark 4 2 6 2
Sub total for Europe 143
Japan 5 5 4 +4
USA 50 40 8C 170 @
Total 99 62 172 ‘ 333
Further demographics of the sample groups can be found ir a seers” e~rzes
Demographics
e
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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 78 of 100

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Fieldwork

Fieldwork was undertaken dunng December 1899 and January 2000 A senes of
face-to-face interviews were camed out with haematoiogists, nurses and patients in
the USA, Japan and Europe Copies of all fieldwcrk documents can be found in

Appendix |

Data analysis

A copy of the multi-country computer tabulatons produced from the results of the
screening and main questionnaires (including demcgraphics), can be found tn the
dound computer tabulations for each respondent group A summary of ins
nformation ts detailed within the main findings of this report

Separate multi-vanate analyses were run for each of the three groups of
tespondents based on the results of the conjoint task A summary of the findings
can be found in the main findings section of the repor:. The statistical analyses of
the conjoint results can be found in Appendix li .

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 79 of 100

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Demographics @
1. Type of patient respondent

17 Adult/paediatric

As per the target quota, nearly two-thirds of the patent resperce: gous ass
parents of children with haemophilia A, except in Japan wnere orly fc. ra.a7.s
could be recruited for this study and all four were adults arc - De-™e~ w7a°s 2
Six recruited patents were children

Type of haemophilia A patient Adult/paediatne

WPaediatnc WAdut
Base All patents

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 80 of 100

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12

Age of paedratnc patients

The mean age of the child sufferers of haemophilia A was nine years This was
similar across all countnes except Spain and Den nark where the mean age was

‘younger at six years, and in France where the mean age was slightly older at 14

years
Mean age of paediatne pa sents
11
Mear age -
mn years
Total . Italy France UK Spain Ss ede Denmark - USA
(108) (14) (13) (16) (6) (6) (6) (47)
Base All paediatnc patien s

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 81 of 100

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73 Length of time since diagnosis

ane oe

The mean length of tme since diagnosis was 30 years for agul* suMers-s ans

years for child sufferers

Length of time since adult was diagnosed with haemophilia 4

39

Total Italy France UK Spain Sweden waca* w=
(4) = 6) ” (6) (4) (4 4 7
‘ Base All adult patents

Length of time since chifd was diagnosad with haemophilia A

Maan no years, 8

Total italy France UK Spam Swede Dastax 5»

-s3

(108) (14) (13) (18) ® ®) €
Base All paedainc patents
Baxter Hyland immuno x

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 82 of 100

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3 Patterns of Factor VIII usage

! Factor Vill is used predominantly as prcphylaxis among paeaiatics bat
more on an ‘as needed’ basis among adul s

NW Portacaths are used by less than one in t2r adult sufferers, but by alrrost
one-third of children

it On average, rFVUl is being prescnbed for . rsund two-thirds of patents avd
around one-third are being prescnbed hurran plasma-denved products

iV The most common influences on choice cf treatment are safety, efficacy,
supply and cost

4 Patterns of recombinant Factor Vill usage

1 The average length of tme that patents ave been using rF Vill is eignt
years for adults and four years for children

The majonty of patients are fairly to very satisfied with the rFVIIl products
currently available, the main reason ‘or patent satisfaction being the

" efficacy of the products

in Recombinate is the most widely used rF VIII product, followed by Kogerate

iV In addition to reducing/eliminating human protein, the capability fo-
conbtnuous Infusion and room temperature storage, rFVIll users also want

to see reduced cost, longer half-life and img ‘oved safety

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 83 of 100

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Management summary @

Relative importance of product features

£

The trade-off exercise in this study was designed to assess Dcm we “627.8
importance of various product features as well as the varyirg 'eves wo- sacc
feature Of the eight product features selected by Baxter to be -acec ~ =e
exercise

t Reducing/elminaing human protein is the most impetar> cea
(eliminating ts significantly better)

i Capabulity for continuous infusion is the second mos’ moma? ‘eats *2"
physicians and nurses (label indication not parucularly irce~ae

tt Room temperature storage ts the third most imocrtart "eat."2 s 5° “se
improvement if tt does not require refngeration, steppec “iccsvs™2r° 4 =
shelf-life)

iv Reconstitution ts of some importance for nurses and parerts ~2ac = 2ss ®&
system and single step procedure)

v Assay issue is not parbcularly important for physictars ans “ses =
one-stage preferable)

~ 4 E07

VI Higher potency product is not particularly sougnt after cue * Elo Ls
2,0001u preferable)

vil Diluent volume ts unimportant (but smalter volumes preferaz

vill rFVIH molecule ts untmpartant for physicians

Breakdown of haemophilia patients

t Approximately four out of five pabents are haemophilia type A.

il Just over half are adults

fit Approximately half of the haemophilia A patents (USA avs ware~ 23
classified as having a severe condition, ano ore q.a7s" és “2.7

moderate and mild conditions respectively

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Pag@ 84 of 100

Main F. ndings

GHO000629

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 85 of 100

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MAIN FINDINGS

1 Haemophilia patient workload

The number of haemophilia patients treated in each centre vaned widely across tre
eight countnes, with estimates ranging from eignt to 700 The mean number or
patients treated was around 150 per centre

Mean number of haemophilia patients treated in each centre

: Total italy . France. - UK Span ‘Sweden Danmark Japan USA
(88) (62) (10) (10) {10)(10) 5) (5) 5) (4) (2) ) GS) (50) (40)

mPhyarcians WNurses
Base Al physicians and all nurs 35

In Japan and the USA, the physicians were also asked how many haemophilia
patients they were personally responsible for treating In Japan, the mean number
of patents was 148, and in the USA the mean nunber was 127 In Japan this
figure equated to the mean number of haemophiha patients treated in each centre,
and in the USA this figure was just under the mean rumber of haemophilia patients
treated in each centre Ths would appear to indicate that all the physicians in
Japan and the majonty in the USA were personally responsible for every
haemophilia patent treated in the centre in which tt ey worked One physician in
the USA stated that s/he was not personally resxonsible for any haemophilia
patients and that the responsibility was shared amonc physicians

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 86 of 100

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Nurses in Japan and the USA were asked what numper of naemorrta A pacze- s ©
would be seen by them In a typical week The mean number was acu"s --e a

Japanese nurses seeing on average two more patents ir a $c wes- os
nurses in the USA

“
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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 87 of 100

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a1

Haemophilia patient types

Haemophilia type A/B

The eshmated percentage of haemophilia patients that were types A and B were
very similar across countnes Out of the total number of haemophilia patients
treated by physicians, around four-fifths (79%) were said to have haemophilia type
A and the remaining fifth (21%) haemophilia type B

Mean percentage of haemophiha patients with haemophilia type A/B

haemophika
cante 152 224 177 129 116 295 121 148 129

denmark dapan USA

Total Haly France UK Spain Swaden

(88) (10) (10) (10) (5) (5) (4) {5) (50)
MHaemophila A Haemophilia B
Base All physicians
Baxter Hyland immuno / 3

GHO00632

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 88 of 100

NOP (Heatthoere

2.2 Adult/paediatric patients @

ax awa

There was a wide vanation in tre centres’ propartiors of acs arc caecars

- haemophilia A patients However the means for both tne pnys cam ava >e -Uss
respondent groups indicated that ,ust over half of the parents teavec ase sc.
and just under half were paediatnc

Mean percentage of haemophilia A patients who were adult/paediatrc

(99) (10) (10) (0 (5) (“ =
MAdult Paecairc

Baser All physicians

ts

Baxter Hyland Immuno
GH000633

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 89 of 100

NOP [Healthcare

23 Severity of condition

Nurses and physicians in Japan and the USA were asked fo classify their

haemophilia A patients by the seventy of their coridiion The results were very
similar, with physicians and nurses tn both countne.. estimating that around half of
their patents had a severe conditon The remainng half were fairly evenly split
between mild and moderate forms of the condition

Haemophilia A patients classified by se senty of condition

Mean 0
haemopr aA
pazeres per

cerve

99

USA 169
121

Japan
84
@ Severe & Moderate Mitd
Base All physicians and nurses mUS/ and Japan
Baxter Hyland Immuno 5

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 90 of 100
NOP (Healthcare

3. Factor Vill usage 6

3.1 Plasma/recombinant Factor VIII usage

The physicians interviewed estimated that they were prese"n-g ‘ecowccan
Factor Vill products, as opposed to human plasma-denvea pcuKs “<S" avsuct
two-thirds (69%) of their haemophilia A patents The nurses’ esurates ws" +S"
simitar The highest usage of recombinant products was in Dermar« w7s"e a cs
all patients were said to be prescnbed recombinant Factor VIII

Mean percentage of patients for whom physicians presercte
recombinanthuman plasma Factor VII!

Total haly France UK Spain Sweden Oermark vacat ~i=

(89) (10) (10} (10) (5) (5) mm 6§ =
WRecombinant WHuman plas'ra

Base All physicians

Baxter Hyland Immuno
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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 91 of 100

NOP Healthcare

32

Duration of recombinant Factor Vill usag2

Among the patient respondents, the average length of time that rFVIIl products had
been used was eight years for adults and four years for children in both adults and
children, patents in France, Sweden and the USA | ad been using the recombinant
products for the longest penods of time Conversely in Italy, Spain and Japan, the
patients had been using recombinant products for tre shortest length of tme

Length of time adults had been using recombinant Factor Vill

Mean no
years

"Total = Italy . France UK : Span 8 veaen Japan USA
(64) 6) (7) (6) (4) ) {4) (33)

Base All adult patients

Baxter Hyland Immuno 7
GHO000636

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 “Page 92 of 100
NOP (Heathcare

Length of time children had been using recombinant Factor Vill 6

Total " Raly 7 France . UK Spain Swedem Ces~2< -3-
(108) (14) (13) (16) (6) (6) s ~
Base All paediatnc patients

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GH000637

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 93 of 100

NOP [Healthcare

33 Recombinant Factor Vill usage for prophyiaxis/treatment

Recombinant Factor Vill was predominantly usec as prophylaxs among child
sufferers (70%) However, adults tended to use t nore on an “as needed” basis
(61%)} rather than as a preventative measure

Use of recombinant Factor Vill as propliylaxis/treatment

70%

Total \ Adult sufferars Chid sufferers

(172) (64) (108)
MProphylaxs Treat nent
Base All patents
Blaxter Hyland Immuno 9

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 94 of 100

NOP (Hea incare

-

The following table idlustrates the usage patterns by country 6
Italy Adult (6) 3 (50%) 3 (c*:
Child (14) 4 (29%) 12 74"
France Adult (7) 3 (43%) 4":
Child (13)** 8 (62%) 7 54°.
UK Adult (6) 5 (83%) 17:
Chitd (16) 15 (84%) ie.
Spain Adult (4) 1 (25%) 375?
Child (6)* 4 (67%) qere,
Sweden Adult (4)** 4 (100%) 4 25°:
Child (6) 6 (100%) -
Denmark | Adutt yo , ©@ .
Child (6) 5 (83%) cee
Japan Adult (4) 4 (25%) ’ 38":
Child - | -
USA Adult (33)** 10 (30%)
Child (47)** 34 (72%)
Adult (04) 54) BEAT MPD 7
sg hii (10) tars CO |
*One respondent stated “don't know"
**These groups included a smal number of patients who usec FV'll ctr as
prophylaxis and on-demand

> Interestingly in Italy where almost three-quarters of the patert "esrcc-ce"s
were children with haemophilia A, just under one thirc ov Facio’\" wsage 425
for the purpose of prophylaxs, while in just over two-thircs of om c "escocce*
it was used on an “as needed” basis, @

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 95 of 100

NOP | Healthcare

> All patents in Sweden and most tn the UK ane Denmark used rFVIII products

5 prophylanss,
' >» rFVI was most commonly used on an “as neec ed” basis among adult patients
11 Spain, Japan and the USA

34 Use of portacaths for delivering recombinant FVIII

Not surpnsingly, portacath use was more common among paediatnc patients than
adults, with almost one third of children (30%), but less than one in ten adults, using
portacaths for the delivery of rF VIII

Use of a portacath (catheter) for the adm ministration of rFVIll

Adult sufferers j
(64) &

Child sufferers

(108)

mM Portacath used W Portacath not used

Base All patents

Baxter Hyland Immuno 11
GH000640

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 96 of 100
NOP (Heal: care

The following table shows a breakdown of portacath use by country 6
SES Sa = Es Peep araceurusea =‘ Zponmcath not see
Italy Adult (6) 4 (17%) 5 ac.
Child (14) - 146400":
France Adult (7) - 7 "coes
Child (13) 2 (15%) 4* 25
UK Adult (6) 4 (17%) 5 8c-
Child (16) 5 (31%) I 4* 35,
Spain Adult (4) - - 4°
Child 6) s(17%) BAYS
Denmark Adult . .
Child (6) 3 (50%) 3 52
Sweden Adult (4) - 41402. ©
Child (6) 3 (50%) 3°52.
Japan Adult (4) 4 (25%) 375.
Child . .
USA Adutt (33) 3 (9%) | 32 9° .
Child (47) 18 (38%) | 29 62-
Ba Gone ere

> Half the children in Denmark and Sweden were using portacaths ic re cS 187

of rFVIIL,
> None of the children in Italy were using portacaths

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® GH000641

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 97 of 100

NOP | Healthcare

35 In-centre administration of recombinant [‘actor VIII

The mean number of occasions that nurses recorst tuted and/or administered rF VII
products in a typical week was five, however this igure was double for nurses in
Denmark and the UK There was no apparent cor-elahon between the number of
patients managed by the centre and the number of tmes nurses administered

rFVIll
Mean number of times rFVIll was reconstitute d‘administered per week
Mean no
haemophiia
A patients 115 111 193, 154 4 1€9

Total ‘UK «Sweden Denmark Japan ~ USA
(62) (10) (5) (2) (5) (40)

Base All nurses

There was no difference in administraton/reconsitt ton pattems between centres
that had mainly paediatnc patents (>50%) and thcse that managed more aduits
{>50%) than children, with the mean being five in dot1 types of centres

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* GHO00642

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 98 of 100

NOP [Healthcare

3.6 Most widely used Factor VIil products ®

w
m

The Factor Vill products most commonly used by the pnys.aa7
interviewed are listed in the following summary table

% of physicians using specified product

. Product ~ - * tet <Physicians (99) !- Nurses (82
Recombinant
Recombinate 91% s+.
Kogenate 76% , eZ .
Helixate "85% 48 -
Refacto , 28% z
Bioclate 26% 2S
Human plasma @
Haemate P/Humate-P — 35% 22.
Hemofil M 32% cz
Monoclate-P 27% . o2-
Alphanate 24% “3.
Monarc M 10% .- to 3
Emocitot 10% -
Koate DVI 6% “Ss
Ochnatv M 3% ‘D:

Recombinate was the most commonly used rFVIH product in all cou-res

> Haemate P/Humate-P was the only human plasma-denved prcs.c° .ss= =r
physicians and nurses in all countnes (except Japan),

> among physicians, human plasma-denved products weve .Séc fc. “5s

physicians in Italy than in any other country This covelates #0 Te 52.2 * ©

Vv

Baxter Hyland Immuno . ‘4
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“ew

Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 99 of 100

NOP (: ealthcare

- secton 31, which shows that physicians ir italy were prescnbing human

’ plasma-derived products for 59% of their patents whereas the mean for all
countries was 31% A full breakdown by coun'ry can be found in the computer
tabulations that accompany this report.

37 Most widely used rFViIl products (USA a1d Japan)

In the USA, Recombmate was the most commony used rFVINI product, used by

90% of the physicians for an average of 45% of the r patients

Usage of specified brands of recombinant Factor Vill in the USA

% physicians Mean % of
using brand patients on brand

Bicclate j 42% [ 12% /

Base All physiaans in the USA (50)

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Case 1:01-cv-12257-PBS Document 6866-13 Filed 01/27/10 Page 100 of 100

NOP [Hea't~care

in Japan, both Recombinate and Kogenate were used oy a’ re 2" 5
interviewed in this study

aan
ae

Usage of specified brands of recombinant Factor Vill in Japan

% physicians Mean 5: c*
using brand | patients on s"acs

Base All physicians in Japan (5)
The patient interviews confirmed the dominant position cr Recerc-ae = 7s =,
market The following chart indicates the brands of rFVIIl curers, ars o-s, 2s e
used by the patents interviewed in this study

Mean percentage of patients using specified brands of rFVI'

55%

Recombmata Kogenate Hebxate

Currently use Previously used

Base All patents (172) © .

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